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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK

DANIEL HUGHES, KRISTINE ZITNY, KATHLEEN
ALEXANDER, individually and for the estate of
MICHAEL HUGHES, PATRICIA HUGHES,
PATRICIA GOINS, PAUL GOINS III, JANICE
CARUSO, DANA RAINEY individually and for the
estate of Paul Goins Jr., EMMITT BURNS, HELENA         JURY TRIAL DEMANDED
DAVIS, C.D. by and through his next friend Helena
Davis, MARY SMEDINGHOFF, THOMAS
SMEDINGHOFF, individually and for the estate of
ANNE SMEDINGHOFF, REGINA SMEDINGHOFF,                   Case No.: 23-cv-6481
JOAN SMEDINGHOFF, MARK SMEDINGHOFF,
MIRANDA LANDRUM, individually and for the estate
of BRANDON LANDRUM, G.L. by and through his
next friend Miranda Landrum, B.L. by and through her
next friend Miranda Landrum, JANET LANDRUM,
JAMES LANDRUM, TRACEY PRESCOTT, JOSEPH
PRESCOTT, JACOB PRESCOTT, AARON
PRESCOTT, individually and for the estate of
BRANDON PRESCOTT, JOSHUA PRESCOTT,
CHRISTINE PHILLIPS, individually and for the estate
of FRANCIS PHILLIPS IV, S.P. by and through her
next friend Christine Phillips, MARIA CARDOZA,
RAMIRO CARDOZA SR., RAMIRO CARDOZA JR.,
individually and for the estate of KEVIN CARDOZA,
CHET MURACH, individually and for the estate of
THOMAS MURACH, WILLIAM MURACH,
SAMANTHA MCNAMARA, BRENDA DAEHLING,
KIRK DAEHLING, individually and for the estate of
MITCHELL DAEHLING, ADAM DAEHLING,
KAYLA DAEHLING, JOANNA GILBERT,
individually and for the estate of WILLIAM GILBERT,
JESSICA BENSON, LIESELOTTE ROLDAN,
MATTHIAS ROLDAN, ANGEL ROLDAN,
SAMANTHA ROLDAN, CHAPMAN GOOD for the
estate of ANGEL ROLDAN JR., NANCY MULLEN,
individually and for the estate of SEAN MULLEN,
MIRIAM MULLEN, WILLIAM MULLEN, JOELLE
ELLIS, JOHN ELLIS, JAMES ELLIS, BRANDON
KORONA, MICHELLE ZIMMERMAN, CHRIS
ZIMMERMAN, BAILY ZIMMERMAN, LORRIA
WELCH, BARRY WELCH, individually and for the
estate of NICKOLAS WELCH, ZACKARY WELCH,
BRUCE NICHOLS, individually and for the estate of
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ROB NICHOLS, JEANNE NICHOLS, MOLLY
NICHOLS, TAMMY OLMSTEAD, WILLIAM M.
BURLEY, DAN OLMSTEAD, MICHAEL COLLINS,
MARTHA SMITH, individually and for the estate of
JAMES WICKLIFF CHACIN, THOMAS WICKLIFF,
MICHELLE ROTELLI, SHEILA LONG, NANCY
WILSON, individually and for the estate of CODY
PATTERSON, KAPRIEL WILSON, MARA WILSON,
ASHLEY GERDING, individually and for the estate of
JOSEPH PETERS, G.P. by and through his next friend
Ashley Gerding, DEBORAH PETERS, DENNIS
PETERS, MICHAEL DONIOS, ESTA SMITH, JOE
TORIAN, NATHAN TORIAN, individually and for the
estate of AARON TORIAN, EMILY TORIAN, JIMMY
SMITH, JOSEPH JONES JR., ALBERTO DIAZ,
KAYLA DIAZ, N.J.A.D. by and through his next friend
Kayla Diaz, N.J.D. by and through her next friend Kayla
Diaz, FRANCES DIAZ, MAXIMO DIAZ, ANTHONY
DIAZ, MATTHEW DIAZ, MICHELLE RILEY,
RODNEY RILEY, individually and for the estate of
JOSEPH RILEY, JULIE MARTIN, BRIAN MARTIN,
individually and for the estate of WYATT MARTIN,
CATHERINE MARTIN, ELIZABETH MARTIN,
KELLI-JO DODGE, individually and for the estate of
COREY DODGE, B.D. by and through his next friend
Kelli-Jo Dodge, P.D. by and through her next friend
Kelli-Jo Dodge, KATHLEEN MCEVOY, individually
and for the estate of RICHARD MCEVOY, PATRICK
MCEVOY, MICHELLE MCEVOY, JANICE
PROCTOR, LUANN VARNEY, SUMMER SUTTON,
individually and for the estate of BARRY SUTTON,
ERIN GOSS, HARRIET SUTTON, WENDY SHEDD,
TRECIA HOOD, FREDDIE SUTTON, ANNIE
MCBRIDE, CHESTER MCBRIDE SR.,
ALEXANDRA MCCLINTOCK, D.M. by and through
his next friend Alexandra McClintock, JOYCE
PAULSEN, GEORGE MCCLINTOCK III, KEVIN
KING, STEPHANIE MILLER, ANNGEL NORKIST,
WILLIAM NEWNHAM, HART NORKIST, AUJZA
NORKIST, NICOLE KAMALESON, CEDRIC
KAMALESON, BARCLAY KAMALESON, CADE
KAMALESON, SUNDERRAJ KAMALESON, and
MATTHEW SCHRIER

                     Plaintiffs,
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           v.

REZA ZARRAB and
TÜRKIYE HALK BANKASI A.Ş., a/k/a
“HALKBANK,”

                 Defendants.



      COMPLAINT FOR VIOLATIONS OF THE ANTI-TERRORISM ACT




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                                         INTRODUCTION

       1.      This lawsuit seeks damages under the federal Anti-Terrorism Act (“ATA”), 18

U.S.C. § 2333, and specifically the aiding-and-abetting and conspiracy causes of action created

by the Justice Against Sponsors of Terrorism Act (“JASTA”), Pub. L. No. 114-222, 130 Stat.

852 (2016). As Congress explained when enacting JASTA, this statute seeks “to provide civil

litigants with the broadest possible basis, consistent with the Constitution of the United States, to

seek relief against persons, entities, and foreign countries, wherever acting and wherever they

may be found, that have provided material support, directly or indirectly, to foreign organizations

or persons that engage in terrorist activities against the United States.” JASTA § 2(b).

       2.      Plaintiffs are American service members and civilians, and their families, who

were killed or wounded in terrorist attacks committed, planned, or authorized by al-Qaeda, often

in conjunction with the Taliban, including its Haqqani Network. Al-Qaeda, inclusive of its

branches and affiliates, directly participated in the attacks against Plaintiffs that occurred in

Afghanistan from 2012 to 2020, and in Syria from 2012 to 2013.

       3.      Plaintiffs seek to hold Reza Zarrab and Türkiye Halk Bankasi A.Ş. (“Halkbank”)

accountable for aiding and abetting the terrorists’ attacks, and for joining a conspiracy that

included the attacks. From 2012 until 2016, Zarrab and Halkbank systematically helped the

National Iranian Oil Company (“NIOC”) and its affiliates—which were known fronts for the

Islamic Revolutionary Guard Corps (“IRGC”)—finance terrorist operations by evading anti-

terrorism sanctions that prevented the IRGC from accessing the proceeds of Iranian oil sales.

Through a prolonged campaign of deception, Zarrab and Halkbank helped IRGC fronts obtain

and deploy at least $20 billion—and by some estimates, as much as $100 billion—while the

IRGC was providing critical financial and logistical support to anti-American terrorists

worldwide. Defendants thus enabled the IRGC to supply money, weapons, training, technology,
                                                   1
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and safe haven to terrorists in Afghanistan, Iraq, and Syria, which used that support to attack

Americans. Defendants’ conduct is actionable under JASTA.

                     THE PARTIES AND OTHER RELEVANT ACTORS

        I.     PLAINTIFFS

        4.     Plaintiffs are 151 individuals comprising direct and indirect victims of 27 terrorist

attacks committed in Afghanistan from 2012 to 2020, and one attack in Syria from 2012 to 2013.

In this terminology, direct attack victims are those who were physically present and were injured

or killed in the attack. They include American service members and civilians who were in

Afghanistan to support the United States’ mission to curb terrorism and assist the Afghan

government, as well as an American who was kidnapped and tortured in Syria. Indirect attack

victims are the direct attack victims’ close family members who suffered financially and

emotionally as a result of the attacks. They include spouses, children, parents, siblings, and other

close relations of the direct attack victims.

        5.     Each Plaintiff is either a U.S. national or the estate, survivor, or heir of a U.S.

national. 1

        II.    DEFENDANTS

        A.     Reza Zarrab

        6.     Reza Zarrab is an Iranian national who previously resided in Türkiye and is

currently believed to be in federal custody at an undisclosed location.


1
  The term “estate” as used herein encompasses established estates, anticipated estates, as well as
certain estate-like constructs available under the laws of certain States (such as “heirships”). The
process of establishing certain estates is ongoing, and the identified family members or other
individuals, as the anticipated personal representatives, bring these claims on behalf of the
anticipated estates of such decedents and all heirs thereof. Each person so identified reserves all
rights, including the right pursuant to Fed. R. Civ. P. 25, to seek to substitute for itself the
decedent’s estate, any successor thereto, or any subsequently named and/or designated estate
representative.
                                                  2
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       7.      In March 2016, Zarrab was indicted for his role in the misconduct alleged herein.

In 2017, Zarrab pleaded guilty to seven violations relating to anti-terrorism sanctions, bank

fraud, money laundering, and bribery. In connection with his plea, Zarrab agreed to testify in the

government’s case against Halkbank executive Mehmet Hakan Atilla, and in the government’s

separate case against Halkbank. His sentencing is delayed pending those trials.

        B.     Halkbank

        8.     Halkbank is a foreign financial institution headquartered in Türkiye. The majority

of its share capital is owned by the Türkiye Wealth Fund, a sovereign wealth fund founded in

August 2016 owned by the Government of Türkiye. Prior to that date, the majority of

Halkbank’s share capital was held by the Turkish Privatization Administration.

       9.      In October 2019, a grand jury returned a six-count indictment charging Halkbank

with fraud, money laundering, and sanctions offenses relating to the misconduct alleged in this

complaint. That criminal case remains ongoing.

       10.     Halkbank’s deputy general manager, Mehmet Hakan Atilla, was convicted by a

jury in January 2018 for his role in the misconduct alleged in this complaint. The allegations

against Atilla relate to conduct he performed in the scope of his employment at Halkbank. Other

Halkbank executives also named in this complaint were indicted in the same case, but remain

fugitives.

        III.   IMPORTANT NON-PARTIES

        11.    Plaintiffs bring claims for aiding and abetting terrorist attacks, and joining a

conspiracy that included them. These are the groups Defendants assisted and conspired with.

        A.     The Islamic Revolutionary Guard Corps

        12.    In 1979, Ayatollah Khomeini created the IRGC to serve as a transnational

terrorist organization that would support the Islamic Revolution. The IRGC was always a

                                                 3
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transnational terrorist organization: it did not support the government of Iran – it supported the

Islamic Revolution. For example, in 1985, IRGC co-founder Mohsen Rafiqdoost publicly stated:

“[t]he IRGC was not created to defend the country’s borders but rather the main aim for the

creation of the IRGC was to defend the Islamic revolution.”

       13.     Under Iran’s constitution, as interpreted by the Ayatollah and the IRGC, the

IRGC interprets its sole responsibility for protecting and exporting the Islamic Revolution as the

IRGC’s specific responsibility to sponsor terrorist attacks targeting the United States, which the

IRGC always understood to be the top threat to the Islamic Revolution. 2



2
  See, e.g., International Institute for Strategic Studies (IISS), Iran’s Networks of Influence in the
Middle East 16 (Routledge 2020) (“Article 150 of Iran’s constitution mandated vaguely that the
IRGC protect the nascent revolution and its future achievements. As a force orientated to the
socio-political values of the revolution’s leadership, the IRGC was also tasked to support
liberation movements and oppressed Muslims abroad.”); National Council of Resistance of Iran -
U.S. Representative Office, Terrorist Training Camps in Iran: How Islamic Revolutionary
Guards Corps Trains Foreign Fighters to Export Terrorism 2 (NCRI June 20, 2017) (“Article
151 of the Iranian regime’s Constitution specifies the duties of the [IRGC] as ‘protecting the
Revolution and its accomplishments.’ To put it another way, the IRGC is the backbone of the
apparatus established to preserve the dictatorship, which itself rests on … export of terrorism and
fundamentalism beyond Iran’s borders … The Revolutionary Guards is involved in … terrorist
interference in several countries of the region. Within the borders of Iran’s neighbors, extensive
terrorist operations and military meddling are carried out simultaneously. The IRGC also
organizes terrorist networks and conducts terrorist operations throughout the world.”); Ilan
Berman, Iran’s Deadly Ambition: The Islamic Republic’s Quest For Global Power 13 (2015)
(“Iran’s new clerical rulers believed fervently that their government marked the start of a global
caliphate and that Iran’s revolution would augur the dominance of Islam ‘in all the countries of
the world.’ Accordingly, the country’s constitution proclaimed that the [IRGC] ‘will be
responsible not only for guarding and preserving the frontiers of the country, but also for
fulfilling the ideological mission of jihad in God’s way; that is, extending the sovereignty of
God’s law throughout the world.’ Iran’s radical vision of Islamic governance, in other words,
was intended from the start to be an export commodity. During the tumultuous decade of the
1980s, as Khomeini’s revolutionaries consolidated power at home, the principle of ‘exporting the
revolution’ became a cardinal regime priority. Its importance was demonstrated in the fact that,
despite the expense of a bloody, grinding eight-year war with Saddam Hussein’s Iraq, the
fledgling Islamic Republic sunk colossal resources into becoming a hub of ‘global resistance.’”);
id. at 20 (“the IRGC-QF has been dedicated to a singular aim since its formation in 1990:
carrying out the ‘extra-regional operations of the Islamic Revolutionary Guard Corps.’ In other


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          14.     Because the IRGC’s only obligation was to protect the Islamic Revolution, the

IRGC was structured to operate as a transnational terrorist organization to support the Islamic

Revolution both while the IRGC and its allies controlled the Government and, importantly, if the

Ayatollah and IRGC ever lost control of Iran’s government, to operate as a global terrorist group

armed with the IRGC’s pre-existing transnational infrastructure purpose-built to ensure the

IRGC could mount a terrorist campaign to retake Iran. As an IRGC scholar observed:

          [T]he IRGC was tasked with defending the revolution … Khomeini and his circle
          of senior advisers expected and feared an imminent U.S.-led military coup…. As
          the IRGC became the guardian of the Islamic Revolution, its political directorate
          began organizing an extraterritorial branch, the predecessor of today’s Quds
          Force. Its mission was to guide revolution in the region, as Khomeini had wanted
          all along. 3 …

          [T]he founders of the Islamic Republic intended to create a revolutionary
          movement that was not about just Iran but the entire region. Four decades later,
          the Quds Force has become the embodiment of that doctrine. 4 …

          And what if the government in Tehran falls? … the Quds Force is organized to
          outlast the Islamic Republic. Its funding will be provided, albeit partially, but the
          business enterprises it has created in the region. It will probably have tens of
          thousands of the most committed militants still under its command. It will have
          access to arms caches it has stored across the region. 5




words, the IRGC-QF is the vanguard of terrorism and insurgency in the name of the Islamic
Republic. … The Quds Force is, quite simply, the purest expression of the Islamic Republic’s
belief that it ‘plays a key role in world affairs as the standard bearer of revolutionary Islam and
the guardian of oppressed Muslims (and even non-Muslims) everywhere.’”).
3
 Nader Uskowi, Temperature Rising: Iran’s Revolutionary Guards and Wars in the Middle
East, at xiv (2018).
4
    Id. at 164.
5
    Id. at 178.

                                                    5
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       15.     IRGC members directly swore allegiance to the Ayatollah, not to the Iranian

government, and was therefore “solely controlled and commanded by Vali-e-Faqih,” i.e., the

Ayatollah’s sole rule, which “ma[de the] IRGC … strongly akin to ISIS.” 6

       16.     Nobody ever actually “retires” from the IRGC. Instead, IRGC officials who

“retire” are typically simply moved from uniform-wearing positions into ostensibly civilian-

facing roles that serve as fronts for key IRGC operations, including fundraising and logistics. For

example, according to an analysis of the IRGC published by NATO:

       The IRGC acts as a business fraternity within which members of the Guard can
       progress along a prescribed career path. Following active service, IRGC members
       are offered senior positions in state-affiliated [] organisations and [] networks …
       Accordingly, ‘no one ever leaves the IRGC’; its senior officers are viewed as an
       Iranian ‘freemasonry’ and ‘Ivy League network’, signalling that the IRGC
       exceeds ideological devotion. 7

       17.     The IRGC always targeted the United States for terrorist violence. Iran’s 1979

revolution was militantly anti-American, and Iran’s regime continued such approach ever since.

Since 1979, the IRGC regularly engaged in and supported acts of terrorism directed at the United

States, which targeted the United States government in Washington, D.C. by seeking to coerce it

into changing U.S. policy as sought by the IRGC, including the United States’s exit from the

Middle East. “For nearly forty years, the Guards [i.e., the IRGC] … sponsored and commanded




6
 Seth J. Frantzman (Author and Iran Scholar), Why These Iranian Elections Are So Important –
Expert, Jpost.com (June 4, 2021), 2021 WLNR 18016754.
7
  Dr. Monika Gill, Capitalism, Communications, and the Corps: Iran’s Revolutionary Guard and
the Communications Economy, Defence Strategic Communications: The Official Journal of the
NATO Strategic Communications Centre of Excellence 111-12 (Autumn 2020). Although Dr.
Gill primarily analyzed IRGC control of Iran’s telecoms sector, her point applies with equal
force to NIOC and the other IRGC fronts described herein because the IRGC practiced a
common terrorist tradecraft with respect to its use of purported “retirement” as cover for
continued illicit IRGC activities designed to enable IRGC support for acts of terrorism.

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anti-Western terrorist organizations … [in] the heart of the Middle East” for whom “[h]ighest on

Iran’s enemy list [was] the United States … which Tehran threaten[ed] to annihilate.” 8

         18.     The United States has long recognized the IRGC’s status as the worst enabler of

anti-American terrorist violence in the world. For example, in October 2007, the government

designated the IRGC for sanctions under Executive Order 13382 for its proliferation-related

activities, and designated a branch of the IRGC known as the IRGC’s Qods Force (“IRGC-QF”)

under Executive Order 13224 for its support of terrorism, including the Taliban in Afghanistan:

         IRGC-Qods Force (IRGC-QF): The Qods Force, a branch of the Islamic
         Revolutionary Guard Corps (IRGC; aka Iranian Revolutionary Guard Corps),
         provides material support to the Taliban, Lebanese Hizballah, Hamas, Palestinian
         Islamic Jihad, and the Popular Front for the Liberation of Palestine-General
         Command (PFLP-GC).

         The Qods Force is the Iranian regime’s primary instrument for providing lethal
         support to the Taliban. The Qods Force provides weapons and financial support to
         the Taliban to support anti-U.S. and anti-Coalition activity in Afghanistan. Since
         at least 2006, Iran has arranged frequent shipments of small arms and associated
         ammunition, rocket propelled grenades, mortar rounds, 107mm rockets, plastic
         explosives, and probably man-portable defense systems to the Taliban. This
         support contravenes Chapter VII UN Security Council obligations. UN Security
         Council resolution 1267 established sanctions against the Taliban and UN
         Security Council resolutions 1333 and 1735 imposed arms embargoes against the
         Taliban. Through Qods Force material support to the Taliban, we believe Iran is
         seeking to inflict casualties on U.S. … forces. 9

         19.     Similarly, Section 1258 of the 2008 National Defense Authorization Act, Pub. L.

No. 110-181, expressed the sense of Congress that “the United States should designate Iran’s

Islamic Revolutionary Guards Corps as a foreign terrorist organization,” and also place it “on the

list of Specially Designated Global Terrorists.”



8
    Mark D. Silinsky, Empire of Terror: Iran’s Islamic Revolutionary Guard Corps, at xxv (2021).
9
 See U.S. Dep’t of Treasury, Fact Sheet: Designation of Iranian Entities and Individuals for
Proliferation Activities and Support for Terrorism (Oct. 25, 2007),
https://home.treasury.gov/news/press-releases/hp644.

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           20.   In 2017, the United States designated the IRGC as a Specially Designated Global

Terrorist “for providing support to a number of terrorist groups, including Hizballah and Hamas,

as well as to the Taliban” and for “provid[ing] material support to the IRGC-QF, including by

providing training, personnel, and military equipment.” 10

           21.   In 2019, the United States designated the IRGC a Foreign Terrorist Organization

(“FTO”). In support, the State Department concluded that the IRGC “has engaged in terrorist

activity since its inception 40 years ago,” that “its support for terrorism is foundational and

institutional,” that it “has killed U.S. citizens,” and that it “has the greatest role among Iran’s

actors in directing and carrying out a global terrorist campaign.” 11 Announcing the designation,

then-Secretary of State Mike Pompeo emphasized that the IRGC “plans, organizes, and executes

terror campaigns all around the world,” and that the “IRGC institutionalized terrorism shortly

after its inception, directing horrific attacks . . . alongside the terror group it midwifed, Lebanese

Hizballah.” 12 Secretary Pompeo described the designation as “simply recognizing a basic

reality,” placing the IRGC in “its rightful place on the same list as terror groups it sponsors.” 13

           22.   The IRGC’s terrorist-support function consists principally of three component

divisions: the Regular IRGC, the IRGC-QF, and Hezbollah. These three divisions all report to

Iran’s Supreme Leader, Ayatollah Khamenei; they have overlapping interests and responsibilities


10
   U.S. Dep't of Treasury, Treasury Designates the IRGC under Terrorism Authority and Targets
IRGC and Military Supporters under Counter-Proliferation Authority (Oct. 13, 2017),
https://home.treasury.gov/news/press-releases/sm0177.
11
   U.S. Dep’t of State, Fact Sheet: Designation of the Islamic Revolutionary Guard Corps (Apr.
8, 2019), https://2017-2021.state.gov/designation-of-the-islamic-revolutionary-guard-
corps/index.html.
12
   Secretary of State Michael R. Pompeo Remarks to the Press (Apr. 8, 2019), https://2017-2021-
translations.state.gov/2019/04/08/secretary-of-state-michael-r-pompeo-remarks-to-the-press-
5/index.html.
13
     Id.

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vis-à-vis terrorism; and they operate as an integrated whole with respect to their support for anti-

American terrorism worldwide. Thus, with respect to promoting terrorism against Americans, the

IRGC’s three divisions share funds, resources, and expertise; they provide logistical support to

each other; and they divide labor to efficiently export terror.

          23.    Among these three groups, the Regular IRGC operates principally inside Iran. In

addition to suppressing dissent in Iran, the Regular IRGC also operates front companies for the

IRGC’s terrorist finance, logistics, illicit technology acquisition, and intelligence activities.

          24.    Pursuant to Iranian directive dated June 11, 2003, and in force ever since, the

IRGC was authorized and encouraged to act as contractors in development schemes, subject to

the requirement that any profit would be used to help “purchase and upgrade equipment for the

Revolutionary Guards and fund its other activities,” i.e., the IRGC’s central Anti-American

terrorist mission under Iran’s constitution. 14 As a result, IRGC profits were required under

Iranian law to be reinvested in the IRGC’s specific lanes of activity that supported terrorism.

          25.    Public reports revealed that the IRGC was taking over large segments of the

Iranian economy no later than the mid-2000s. For example, an article entitled IRGC, Inc.

published by the think tank American Enterprise Institute (“AEI”) on May 17, 2007, reported

that one effect of sanctions on Iran would be to block European and Asian businesses from doing

business there, causing Iran to turn to the IRGC “to fulfill its commercial and infrastructural

needs. In the process, the IRGC will fill its coffers with billions of dollars, and further export its

brand of terror.” 15 The article further explained that “IRGC money is fungible,” such that



14
  Ali Alfoneh, How Intertwined Are the Revolutionary Guards in Iran’s Economy, Middle
Eastern Outlook (Oct. 2007), https://www.aei.org/research-products/report/how-intertwined-are-
the-revolutionary-guards-in-irans-economy/.
15
     Omeed Jafari, IRGC, Inc., AEI (May 17, 2007), https://www.aei.org/articles/irgc-inc/.

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revenue from commercial projects would likely fund paramilitary forces and “cement Iran’s

sponsorship of terrorist organizations like Hezbollah and Hamas and grease the flow of

sophisticated weaponry to these terror groups.” 16

           26.   A second article, published in October 2007, explained that “the IRGC is an

economic powerhouse,” and that “[t]hroughout the 1990s, the IRGC . . . extended its influence

into the lucrative oil and gas sectors.” 17 The article further explained the June 11, 2003 directive,

as providing that any profit should be “‘transferred to the Chancery,’ which in turn would fund

not only the contract in question, but would use any surplus to purchase and upgrade equipment

for the Revolutionary Guards and fund its other activities.” 18 The article noted that after the

directive, “[t]he IRGC now interprets its operational freedom so broadly that it accepts no

constitutional restrictions. … In effect, as long as the supreme leader supports the IRGC, any

action it takes is legal.” 19

           27.   In October 2007, the United States designated the IRGC for sanctions under

Executive Order 13382 for its proliferation-related activities, which prohibited all transactions

between U.S. persons and the IRGC, and subjected all IRGC assets in U.S. jurisdiction to

seizure. It also “notif[ied] the international private sector of the dangers of doing business with

. . . the many IRGC-affiliated companies that pervade several basic Iranian industries.” 20

           28.   At all times thereafter, the IRGC has continued to raise funds and other resources

that have been used to support acts of terrorism, and the United States has continually imposed


16
     Id.
17
     Alfoneh, supra n.14.
18
     Id.
19
     Id.
20
     Fact Sheet supra n.9.

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sanctions on the IRGC and its fronts. As the U.S. Treasury Department found when it sanctioned

IRGC actors in February, 2010, the IRGC was consolidating “control over broad swaths of the

Iranian economy, displacing ordinary Iranian businessmen in favor of a select group of

insiders.” 21 The Treasury Department specifically noted that “[t]he IRGC has a growing

presence in Iran’s financial and commercial sectors and extensive economic interests in the

defense production, construction, and oil industries, controlling billions of dollars of business.

The profits from these activities are available to support the full range of the IRGC’s illicit

activities, including [weapons of mass destruction] proliferation and support for terrorism.” 22

Later that year, the Treasury Department reiterated that “[w]ith the IRGC’s expanding influence

and control over broader segments of the Iranian economy—including the defense production,

construction, and oil and gas industries—increasing numbers of Iranian businesses are subsumed

under the IRGC’s umbrella and identified with its illicit conduct.” 23

          29.    In 2010 and 2012, the IRGC was designated for sanctions under Executive Order

13553 and 13606 for human rights abuses. In 2017, the Treasury Department designated the

IRGC a Specially Designated Global Terrorist (“SDGT”) under Executive Order 13224 for “for

the activities it undertakes to assist in, sponsor, or provide financial, material, or technological

support for, or financial or other services to or in support of, the IRGC-QF.” 24 In 2019, the State

Department designated the IRGC an FTO.


21
  U.S. Dep’t of Treasury, Press Release, Treasury Targets Iran’s Islamic Revolutionary Guard
Corps (Feb. 10, 2010), https://home.treasury.gov/news/press-releases/tg539.
22
     Id. (emphasis added).
23
  U.S. Dep’t of Treasury, Fact Sheet: Treasury Designates Iranian Entities Tied to the IRGC
and IRISL (Dec. 21, 2010), https://home.treasury.gov/news/press-releases/tg1010.
24
  U.S. Dep’t of Treasury, Press Release, Treasury Designates the IRGC under Terrorism
Authority and Targets IRGC and Military Supporters under Counter-Proliferation Authority
(Oct. 13, 2017), https://home.treasury.gov/news/press-releases/sm0177.

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           30.   Terrorism experts echoed the government’s concerns. In April 2010, Michael

Ledeen of the Foundation for Defense of Democracies published an article explaining that “the

IRGC has become enormously powerful and fabulously rich,” controlling “between one-third

and one-half of the major enterprises inside Iran, and over a thousand foreign firms.” 25 Ledeen

explained that although the IRGC’s “total budget is secret,” its “annual profits surely run into

many billions of dollars. Some of this money goes to private accounts, some of it is laundered

overseas. Then it is provided to the world’s leading terrorist organizations, and some is

reinvested in the Guards’ businesses.” 26 The article further explained that “America’s main

concern with the Guards is that they have directly and indirectly killed a lot of our service

personnel,” and that “Americans have repeatedly been targeted by IRGC killers, or by their

favorite proxies, Hezobllah and al Qaeda.” 27 This included operations “against U.S. forces in

Afghanistan,” which was known “from the winter of 2001-2002, when we uncovered teams of

Iranian-trained killers there.” 28

           31.   Mark Dubowitz, the President of the Foundation for Defense of Democracies and

an expert on Iran and the IRGC, similarly testified in the criminal trial related to this case that the

IRGC controlled between 20 and 40 percent of the Iranian economy, with heavy involvement in

the financial, commercial, construction, energy, and defense industries. This control occurred

formally in the sense that the IRGC owned certain companies in its own name, and also

informally in the sense that IRGC loyalists (including current and former commanders) were



25
 Michael A. Ledeen, Iran’s ‘Foreign Legion’ Takes on America, VFW, Veterans of Foreign
Wars Magazine (Apr. 2010).
26
     Id.
27
     Id.
28
     Id.

                                                  12
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often placed in positions of authority in companies the IRGC does not own to ensure that those

companies act in ways that benefit the IRGC.

          32.    The IRGC-QF is the IRGC’s Iranian-staffed external security operations division.

The IRGC-QF works principally outside of Iran, directing the IRGC’s resources to support and

sponsor anti-American terrorist organizations around the globe. The U.S. Treasury Department

designated the IRGC-QF an SDGT in October 2007, explaining that the IRGC-QF is “a branch

of the Islamic Revolutionary Guard Corps” that “provides material support to the Taliban,

Lebanese Hizballah,” and other terrorist organizations. 29

                                                 ***

          33.    When it comes to efforts to inflict casualties on the United States, the IRGC’s

divisions operate as a cohesive whole. Thus, the IRGC’s divisions all report to Iran’s Supreme

Leader, and collaborate to support anti-American terrorist groups worldwide. This anti-

Americanism is part of a deeply rooted ideology that sees American presence in the Middle East

as a threat to the objectives of the Iranian Revolution, and accordingly seeks to expel the United

States and its allies from the region.

          34.    This collaboration between the IRGC’s divisions also means that resources earned

by one IRGC division flow through to the others, and to the terrorist organizations they support.

Thus, funds raised by the Regular IRGC’s fronts readily find their way to the IRGC-QF and

Hezbollah, as well as the IRGC’s anti-American terrorist proxies elsewhere.

          B.     The IRGC’s Front: the National Iranian Oil Company

          35.    NIOC is the entity responsible for exploring and exporting Iran’s oil. It is a

government-owned business overseen by the Iranian Ministry of Petroleum.


29
     Fact Sheet, supra n.9.

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       36.     By 2012, NIOC was a known front for the IRGC. The public sources describing

this relationship—which were available as early as 2010—are cited and quoted at more length

infra in Part I.C of the Factual Allegations. But the relationship was sufficiently clear that in

August of 2012, Congress enacted a statute expressing its sense that NIOC was an agent or

affiliate of the IRGC, and ordered the Treasury Department to determine if it was so. In

September 2012, the Treasury Department concluded that the answer was “yes,” and NIOC was

officially sanctioned as an IRGG agent or affiliate, i.e., an IRGC front. 30

       37.     NIOC has affiliates, including the Naftiran Intertrade Company Ltd. (“NICO”), an

entity that handles much of NIOC’s overseas trade. NICO was sanctioned in 2013 for its

relationship to NIOC and, by extension, the IRGC.

       38.     NIOC directed funds to the IRGC through a web of contracting arrangements with

other IRGC businesses. NIOC’s revenues thus flowed through to the IRGC, the IRGC-QF, and

Hezbollah—and, at those organizations’ direction, to the IRGC’s terrorist proxies elsewhere,

including in Afghanistan.

       C.      The IRGC’s Terrorist Proxies in Afghanistan: the al-Qaeda Syndicate

       39.     Afghanistan borders Iran directly to the east. There, the IRGC supported al-Qaeda

and the Taliban, including its Haqqani Network. These terrorist organizations jointly planned and

executed attacks on Americans in Afghanistan throughout the time period relevant to this case.

They shared the IRGC’s goal of expelling the United States from the region, and the IRGC

provided these organizations with support—including funds, weapons, training, technology, and




30
  U.S. Dep’t of the Treasury, Press Release, Treasury Submits Report to Congress on NIOC and
NITC (Sept. 24, 2012), https://home.treasury.gov/news/press-releases/tg1718.

                                                 14
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logistical assistance—to advance this common cause. Al-Qaeda and the Taliban (including its

Haqqani Network) thus acted as proxies for the IRGC in Afghanistan.

        40.     Al-Qaeda is an infamous Sunni terrorist organization that has been a designated

FTO since October 8, 1999. As explained in greater detail below, al-Qaeda was responsible for

committing, planning, and/or authorizing the vast majority of all terrorist attacks against

Americans and Coalition forces in Afghanistan during the relevant time period, including every

attack at issue in this case.

        41.     The Taliban is a Sunni terrorist organization formed by former mujahideen

fighters who had expelled the Soviet Union from Afghanistan. The Haqqani Network is the most

radical part of the Taliban. The United States designated the Taliban an SDGT on July 3, 2002,

along with its leader, Mullah Omar. On December 26, 2007, Congress enacted a law declaring

that, for purposes of “section 212(a)(3)(B) of the Immigration and Nationality Act . . ., the

Taliban shall be considered to be a terrorist organization.” Consolidated Appropriations Act of

2008, § 691(d), Pub. L. No. 110-161, 121 Stat 1844 (2007). Throughout the 2000s, the United

States designated leaders in the Haqqani Network, including Sirajuddin Haqqani and multiple

family members, as SDGTs. The Haqqani Network itself was designated an FTO on September

19, 2012.

        42.     These anti-American terrorist groups, along with others, formed a mafia-style

terrorist syndicate to jointly attack Americans in Afghanistan. This syndicate superstructure was

publicly acknowledged by multiple senior officials, including then-Secretary of State Hillary

Clinton (in 2009), then-Secretary of Defense Robert Gates (in 2010), and then-Undersecretary of

Defense Michele Flournoy (in 2011). These officials all opined that the lines between al-Qaeda,




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the Taliban, the Haqqani Network, and their terrorist allies were blurred, and that these

organizations worked together to attack Americans in Afghanistan.

           43.   Terrorism experts and scholars including Bruce Riedel (a former CIA analyst),

Bill Roggio and Thomas Joscelyn (senior fellows at the Foundation for Defense of Democracies

and editors of the Long War Journal), and others similarly publicly commented that al-Qaeda

and the Taliban (including its Haqqani Network) were closely intertwined as a terrorist syndicate

that shared resources and collaborated to plan and commit terrorist attacks on Americans in

Afghanistan.

           44.   The U.S. District Court for the District of Columbia recently found as a matter of

fact that multiple terrorist groups operating in Afghanistan—“including the Taliban, the Haqqani

Network, the Kabul Attack Network, and al-Qaeda—made up a terrorist ‘syndicate,’” defined as

“a group of terrorists or terrorist organizations combined to promote a common interest”—in this

case “attack[ing] Western and Afghan government targets.” 31 The court found that the members

of the Syndicate “shared close strategic, tactical, and operational coordination, which enabled

each group to make its operations more lethal for American forces.” 32 The attack period in

Cabrera (from 2006 to 2019) encompassed the period of attacks at issue here, and so this finding

is equally valid with respect to the attacks in this case.

           45.   Under the syndicate superstructure, providing support to al-Qaeda or the Taliban

(including its Haqqani Network) was tantamount to aiding all of these organizations because

they planned and committed attacks together. Starting in the mid-2000s, public sources

emphasized that “[t]he line between the Taliban and al Qaeda is increasingly blurred, especially



31
     Cabrera v. Islamic Republic of Iran, 2022 WL 2817730, at *6 (D.D.C. July 19, 2022).
32
     Id.

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from a command and control perspective.” 33 By the end of that year, Chairman of the Joint

Chiefs of Staff Admiral Michael Mullen said the same thing openly. “We are deeply concerned

about the growing level of collusion between the Taliban and al Qaeda.” 34 And as Lieutenant

General Ronald L. Burgess, Jr. stated in a February 2010 Hearing of the Senate Select

Committee on Intelligence, “al Qaeda’s propaganda, attack planning and support of the Taliban

and Haqqani networks continues.” By the fall of 2009, noted journalist Peter Bergen publicly

stated, “the Taliban and Al Qaeda function more or less as a single entity. The signs of this are

everywhere.” 35 As a result of this high level of coordination, any support to al-Qaeda or the

Taliban (including its Haqqani Network) necessarily flowed through to that organization’s

syndicate partners, too.

          46.    These groups also raised money together and shared resources. For instance, the

Haqqani Network ordinarily managed the Taliban’s transnational terrorist finance and logistics

operations and often aided al-Qaeda’s as well. When doing so, the Haqqani Network used its

network of agents, operatives, and fronts in the U.A.E. as an alias for its fellow syndicate

terrorists. The Treasury Department determined that the Haqqani Network regularly used its

transnational terrorist finance activities to fund multiple al-Qaeda-affiliated syndicate members

simultaneously. For example, on February 9, 2011, the Treasury Department designated

Syndicate operatives, Said Jan Abd Al-Salam and Khalil Al-Rahman Haqqani (Jalaluddin’s

brother), as SDGTs to “target[] the financial and support networks of al-Qa’ida, the Taliban and




33
     Bill Roggio, Al Qaeda Builds A ‘Shadow Army’, Wash. Times (Feb. 13, 2009).
34
     Anand Gopal, Afghan Police Killings Highlight Holes in Security, Wall St. J. (Dec. 15, 2009).
35
     Peter Bergen, The Front: The Taliban-Al Qaeda Merger, New Republic (Oct. 19, 2009).

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the Haqqani Network leadership.” 36 And according to Haqqani Network expert Gretchen Peters,

international “funding streams” were “intertwined across” amongst al-Qaeda, the Haqqani

Network, and the Taliban. 37 As Ms. Peters explained in 2012, al-Qaeda, the Haqqani Network,

and their allies “derive[d] income in and outside Afghanistan” and their “money move[d]

between key network actors and into banks in Pakistan, the [U.A.E.] and beyond.” 38

Accordingly, financial and other material support to any syndicate group assisted all of them.

           47.    Because the syndicate organizations were operationally fused, many attacks

committed by one syndicate organization (e.g., the Taliban) were often either committed jointly

with another organization, or were planned or authorized by that organization. As the court found

in Cabrera, “[a]l-Qaeda provided significant operational support to the Taliban in planning and

authorizing terrorist attacks,” including “aiding the Taliban in developing tactics, especially

suicide bombings, by providing ideological and technical expertise,” and by paying “the families

of Taliban suicide bombers.” 39 “Taliban insurgents trained at al-Qaeda camps both within and

outside Afghanistan,” and “a component of al-Qaeda fought alongside the Taliban and later

reorganized and embedded itself within the Taliban’s structure, fielding small units and

embedding military trainers who instructed Taliban fighters on waging a successful

insurgency.” 40




36
   U.S. Dep’t of Treasury, Press Release, Treasury Targets the Financial And Support Networks
of Al Qa’ida and the Taliban, Haqqani Network Leadership (Feb. 9, 2011),
https://home.treasury.gov/news/press-releases/tg1055.
37
  Gretchen Peters, Haqqani Network Financing: The Evolution of an Industry 32, Combatting
Terrorism Ctr. (July 2012).
38
     Id.
39
     Cabrera, 2022 WL 2817730, at *9.
40
     Id.

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        48.    These public sources describing the close linkages between al-Qaeda and the

Taliban (including its Haqqani Network) are only the tip of the iceberg. Additional sources

reveal that these organizations shared key leaders—for example, Sirajuddin Haqqani, who was

simultaneously: (1) a senior al-Qaeda operative, leader, and attack planner, who served as the

most important member of al-Qaeda’s military council (essentially, its terrorist planning

committee); (2) the Haqqani Network’s top operative, attack planner, and leader; and (3) a senior

leader of the Quetta Shura Taliban, which would eventually make him its number two leader

(Deputy Emir). In addition to his attack planning role, Sirajuddin Haqqani played key roles in

syndicate finance, and also in the manufacture of explosives for syndicate attacks. Public sources

further reveal that al-Qaeda provided essential religious and logistical support to certain Taliban

attack methods (especially suicide bombings, which the Taliban considered taboo before

al-Qaeda’s influence changed its views, and the use of improvised explosive devices (“IEDs”),

which the Taliban learned from al-Qaeda). And they show that attacks on Americans were

frequently planned at mafia-style meetings attended by al-Qaeda, Taliban, and Haqqani Network

terrorists.

        49.    As noted above and alleged in greater detail below, the IRGC notoriously

provided robust support to al-Qaeda and the Taliban, including its Haqqani Network, for the

specific purpose of supporting those entities’ attacks on American forces in Afghanistan. The

support included funds, weapons, training, logistical assistance, and safe haven, all of which

enabled terrorist attacks on Americans. And all of this occurred at a time when the connections

between the IRGC and the al-Qaeda syndicate, and between the various syndicate members,

were easily observable to third parties in Defendants’ position.




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              D. The IRGC’s Terrorist Proxies in Iraq and Syria: al-Qaeda, al-Qaeda-in-Iraq,
                 and al-Nusra Front

        50.      From 2003 through 2013, the IRGC provided vital aid to al-Qaeda, including its

branches in Iraq and Syria, to facilitate al-Qaeda’s attacks against Americans in both countries.

        51.      The IRGC’s aid extended directly to al-Qaeda-in-Iraq (“AQI”) and its progeny,

al-Nusra Front (“ANF”).

        52.      The origins of AQI and ANF trace to Abu Musab al-Zarqawi, a Jordanian terrorist

who created a training camp in Afghanistan at Osama bin Laden’s invitation. By the time of the

September 11, 2001 terrorist attacks, Zarqawi had trained several thousand terrorists and

established a terrorist network in Iraq, Syria, and other countries in the Middle East.

        53.      On or about October 15, 2004, the Secretary of State designated the Zarqawi

terrorist network as an FTO under 8 U.S.C. § 1189, under the name Jama’at al-Tawhid wa’al-

Jihad. 41 On or about the same day, the Secretary of State also designated Jama’at al-Tawhid

wa’al-Jihad under Executive Order No. 13,224 as an SDGT. 42

        54.      In or around October 2004, Zarqawi formally pledged allegiance to al-Qaeda and

renamed his terrorist network al-Qaeda in Iraq (“AQI”). By then, Zarqawi and his organization

were among the most prominent terrorists attacking Americans in Iraq and elsewhere.

        55.      A U.S. airstrike killed Zarqawi in June 2006. But AQI continued after his death as

a formidable terrorist group waging a violent campaign against the United States. In 2010, a new


   41
       In the Matter of the Designation of Jam’at al Tawhid wa’al-Jihad, Also Known as the
Monotheism and Jihad Group, Also Known as the al-Zarqawi Network, Also Known as al-
Tawhid, as a Foreign Terrorist Organization Pursuant to Section 219 of the Immigration and
Nationality Act, 69 Fed. Reg. 61,292 (Oct. 15, 2004).
    42
       Determination Pursuant to Section 1(b) of Executive Order 13224 Relating to the
Designation of Jam’at al Tawhid wa’al-Jihad, Also Known as the Monotheism and Jihad Group,
Also Known as the al-Zarqawi Network, Also Known as al-Tawhid, 69 Fed. Reg. 61,292 (Oct.
15, 2004).

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AQI leader—Abu Bakr al-Baghdadi—took control of the AQI terrorist network. Baghdadi

eventually became “the world’s most-wanted terrorist chieftain,” with the U.S. government at

one point offering a record-breaking $25 million bounty for his capture.

        56.    In early 2011, shortly after Baghdadi’s emergence, Syria spiraled into civil war.

Many terrorist groups and other armed factions began vying for power, precipitating a near-total

breakdown in Syrian governance and other civil institutions. In August 2011, the U.N. High

Commissioner for Human Rights reported “a pattern of widespread or systematic human rights

violations by Syrian security and military forces, including murder, enforced disappearances,

torture, deprivation of liberty, and persecution.” 43

        57.    In late 2011, sensing the opportunity amid the chaos, Baghdadi sent an AQI

operative, named Abu Muhammad al-Julani (also spelled al-Jawlani), to establish an AQI branch

in Syria. Baghdadi also sent Abu Muhammad al-Adnani (who would later lead ISIS’s global

Intelligence Cell) to assist Julani. The resulting Syrian branch was called the al-Nusrah Front

(“ANF”), which Baghdadi and Julani formed officially in January 2012.

        58.    By the end of 2012, the U.S. government recognized ANF as AQI’s Syrian

branch. In December 2012, the Secretary of State amended the FTO designation for AQI to

include the following aliases: al-Nusrah Front (“ANF”), Jabhat al-Nusrah, Jabhet al-Nusra, The

Victory Front, and Al-Nusrah Front for the People of the Levant. 44 At the time, the State

Department reported that ANF had already claimed responsibility for nearly 600 terrorist attacks




   43
       Statement by Ms. Navi Pillay, UN High Commissioner for Human Rights to the Human
Rights Council 17th Special Session on “Situation of human rights in the Syrian Arab Republic”
in Geneva (Aug. 22, 2011), https://www.ohchr.org/en/statements/2011/08/statement-ms-navi-
pillay-un-high-commissioner-human-rights-human-rights-council?LangID=E&NewsID=11321.
    44
       Amendment of the Designation of al-Qa’ida in Iraq, 77 Fed. Reg. 73,732 (Dec. 11, 2012).

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throughout Syria. The State Department characterized ANF as carrying out AQI’s campaign to

“hijack the struggles of the Syrian people for its own malign purposes.” 45

                                JURISDICTION AND VENUE

        59.    This Court has subject matter jurisdiction under 18 U.S.C. § 2338 and 28 U.S.C.

§ 1331.

        60.    The Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1604, does not

deprive this Court of subject matter jurisdiction because: (1) a majority of Halkbank’s shares are

not directly owned by the government of Türkiye, and Halkbank is therefore not an

instrumentality of the Turkish government entitled to claim sovereign immunity; and (2) even if

Halkbank were an instrumentality of the Turkish government, its conduct as alleged herein is a

“commercial activity” within the meaning of 28 U.S.C. § 1605(a)(2). 46

        61.    The Court has personal jurisdiction over each of the Defendants under Federal

Rule of Civil Procedure 4(k)(1) and/or 4(k)(2), and 18 U.S.C. § 2334(a). Jurisdiction in the

United States comports with due process because (1) Defendants deliberately chose to launder at

least approximately $1 billion through correspondent accounts at U.S. financial institutions; (2)

Defendants’ representatives traveled to the United States to lie to Treasury Department officials

in Washington, D.C. as part of their unlawful terrorist support scheme; and (3) Defendants




   45
       Victoria Nuland, Terrorist Designations of the al-Nusrah Front as an Alias for al-Qa’ida
in Iraq (Dec. 11, 2012), https://2009-2017.state.gov/r/pa/prs/ps/2012/12/201759.htm.
    46
       See United States v. Turkiye Halk Bankasi A.S., 16 F.4th 336, 348-50 (2d Cir. 2021)
(holding that Halkbank’s alleged misconduct would fall under FSIA’s “commercial activity”
exception even if FSIA would otherwise immunize Halkbank from criminal prosecution). The
Supreme Court affirmed in relevant part on the alternative ground that the FSIA does not apply
in criminal cases. See Turkiye Halk Bankasi A.S., aka Halkbank v. United States, 143 S. Ct. 940,
951 (2023).

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participated in a conspiracy to influence U.S. foreign policy through terrorism, thus directing

conduct at the United States.

       62.     Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

events giving rise to the claims, including correspondent banking transfers of at least

approximately $1 billion, occurred in this District.

                                  FACTUAL ALLEGATIONS

       63.     Plaintiffs’ allegations are based on information derived from confidential

witnesses with direct and indirect knowledge of the alleged facts, internal company documents,

declassified military-intelligence reporting, congressional testimony and reports, press accounts,

and Plaintiffs’ recollections. They are also based on information revealed during the completed

criminal prosecutions of Zarrab (which resulted in a guilty plea to seven violations relating to

anti-terrorism sanctions, bank fraud, money laundering, and bribery), the completed criminal

prosecution of Mehmet Hakan Atilla (Halkbank’s deputy general manager for international

banking, who was convicted of conspiracy to defraud the United States, conspiracy to violate

sanctions laws, bank fraud, and conspiracy to commit money laundering), and the ongoing

criminal prosecution of Halkbank for the acts alleged herein. Those criminal proceedings are

being adjudicated before the honorable Judge Berman under case number 15-cr-867 (RMB).

I.     DEFENDANTS KNOWINGLY PROVIDED SUBSTANTIAL UNLAWFUL
       ASSISTANCE TO THE IRGC AND ITS TERRORIST PROXIES PURSUANT TO
       AN AGREEMENT TO ASSIST THE IRGC IN PURSUING ITS FOREIGN
       POLICY AGENDA

       A.      By 2012, U.S. Anti-Terrorism Sanctions Effectively Froze the National
               Iranian Oil Company’s Assets in Türkiye, Depriving the IRGC of Billions of
               Dollars in Revenue

       64.     The 1979 “Islamic Revolution” was fueled in large part by militant anti-

Americanism. Eliminating the United States’ role in the region surrounding Iran—including


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through violence—was and remains the constitutional mandate of the IRGC, as the guardians of

the “revolution.” To export its Islamic Revolution, the IRGC has engaged in and supported acts

of terrorism directed at the United States and its allies as an instrument of the Ayatollah’s will.

          65.    The IRGC’s support of terrorist proxies like al-Qaeda, al-Nusra Front, and the

Taliban is well-documented. See Part I.C, infra. Indeed, largely in response to the IRGC’s

activities, the U.S. State Department formally designated Iran as a State Sponsor of Terrorism in

1984, and has maintained that designation at all times since. In 2008, it observed that the IRGC

was “directly involved in the planning and support of terrorist acts throughout the region and

continued to support a variety of groups in their use of terrorism to advance their common

regional goals,” including “Palestinian terrorist groups, Lebanese Hizballah, Iraq-based militants,

and Taliban fighters in Afghanistan.” 47

          66.    These designations and others resulted in crippling sanctions on the IRGC, on

IRGC-run enterprises, and on businesses and individuals that have enabled the IRGC’s support

for terrorism and violence. In particular, U.S. sanctions have targeted the IRGC’s three core

components: Regular IRGC, the Qods Force, and the Hezbollah division. These three IRGC

divisions all answer only to Iran’s Supreme Leader, Ayatollah Ali Khamenei. They also share

resources in pursuit of their common objectives, which include expelling the United States from

the Middle East by inflicting massive casualties on Americans in the region.

          67.    The IRGC simultaneously controls large swaths of the Iranian economy and plays

a central role in Iran’s promotion of terrorism against Americans—and those two roles are not a

coincidence. Instead, the IRGC seeks to control Iran’s economy because doing so grants the




47
     U.S. Dep’t of State, Country Reports on Terrorism 2007, at 172 (Apr. 2008).

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IRGC access to resources that allow it to more effectively prosecute acts of terrorism worldwide.

Consequently, the IRGC’s business interests are inextricably intertwined with its terrorism.

           68.   The United States government has itself embraced and publicized that

understanding of the IRGC’s role. For example, in October 2007, the Department of State

designated the IRGC for its role in nuclear proliferation, and the Treasury Department designated

the IRGC-QF an SDGT “for providing material support to the Taliban and other terrorist

organizations.” 48 The Treasury Department explained that its designations were designed to

“notify the international private sector of the dangers of doing business with . . . the many IRGC-

affiliated companies that pervade several basic Iranian industries.” 49 It further explained that the

IRGC-QF “is the Iranian regime’s primary instrument for providing lethal support to the

Taliban,” including “weapons and financial support . . . in Afghanistan,” including shipments of

small arms, rocket propelled grenades, mortar rounds, rockets, plastic explosives, and man-

portable defense systems. This support was designed “to inflict casualties on U.S. and NATO

forces” in Afghanistan. 50

           69.   As another example, on February 10, 2010, the Treasury Department sanctioned

Khatam al-Anbiya, an IRGC construction firm. The designation explained that the action was

intended “to implement existing U.S. sanctions against Iran’s Islamic Revolutionary Guard

Corps (IRGC),” and that the designation included “IRGC General Rostam Qasemi, who is also

the commander of Khatam al-Anbiya Construction Headquarters, the engineering arm of the

IRGC that serves to help the IRGC generate income and fund its operations.” 51 The Treasury


48
     Fact Sheet, supra n.9.
49
     Id.
50
     Id.
51
     Press Release, supra n.21.

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Department elaborated that “[a]s the IRGC consolidates control over broad swaths of the Iranian

economy, displacing ordinary Iranian businessmen in favor of a select group of insiders, it is

hiding behind companies like Khatam al-Anbiya and its affiliates to maintain vital ties to the

outside world. . . Today’s action exposing Khatam al-Anbiya subsidiaries will help firms

worldwide avoid business that ultimately benefits the IRGC and its dangerous activities.” 52

           70.   In that same February 2010 designation, the Treasury Department specifically

called out the IRGC’s “growing presence in Iran’s . . . oil industr[y],” explaining that “[t]he

profits from these activities are available to support the full range of the IRGC’s illicit activities,

including WMD proliferation and support for terrorism.” 53 The Treasury Department

emphasized that the “IRGC-QF is the Government of Iran’s primary arm for executing its policy

of supporting terrorist and insurgent groups. The IRGC-QF provides material, logistical

assistance, training and financial support to militants and terrorist operatives throughout the

Middle East and South Asia.” 54 “The Government of Iran also uses the Islamic Revolutionary

Guard Corps (IRGC) and IRGC-QF to implement its foreign policy goals, including, but not

limited to, seemingly legitimate activities that provide cover for intelligence operations and

support to terrorist and insurgent groups.” 55 For example, “[i]n Afghanistan, the IRGC-QF

provides select members of the Taliban with weapons, funding, logistics and training.” 56




52
     Id.
53
     Id.
54
   U.S. Dep’t of Treasury, Fact Sheet: U.S. Treasury Department Targets Iran’s Support for
Terrorism Treasury Announces New Sanctions Against Iran's Islamic Revolutionary Guard
Corps-Qods Force Leadership (Aug. 3, 2010), https://home.treasury.gov/news/press-
releases/tg810.
55
     Id.
56
     Id.

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           71.   On August 3, 2010, the Treasury Department announced additional designations

designed to “expose Iran’s use of its state apparatus—including the Islamic Revolutionary Guard

Corps-Qods Force—and state-run social service organizations to support terrorism under the

guise of providing reconstruction and economic development assistance or social services.” 57

           72.   On December 21, 2010, the Treasury Department designated additional IRGC

entities, again explaining that “[t]he IRGC continues to be a primary focus of U.S. and

international sanctions against Iran because of the central role it plays in Iran’s missile and

nuclear programs, its support for terrorism, as well as its involvement in serious human rights

abuses. . . With the IRGC’s expanding influence and control over broader segments of the

Iranian economy—including the defense production, construction, and oil and gas industries—

increasing numbers of Iranian businesses are subsumed under the IRGC’s umbrella and

identified with its illicit conduct.” 58

           73.   On June 23, 2011, the Treasury Department sanctioned additional IRGC entities,

again explaining that “[a]s Iran’s isolation has increased, the IRGC has expanded its reach into

critical sectors of Iran’s economic infrastructure—to the detriment of the Iranian private sector—

to generate revenue and conduct business in support of Iran’s illicit activities. Today’s actions

target core commercial interests of the IRGC, while also undermining the IRGC’s ability to

continue using these interests to facilitate its proliferation activities and other illicit conduct.” 59

Indeed, the Treasury Department emphasized that “imposing financial sanctions on commercial




57
     Id.
58
     Fact Sheet, supra n.23.
59
  U.S. Dep’t of the Treasury, Fact Sheet: Treasury Sanctions Major Iranian Commercial
Entities (June 23, 2011), https://home.treasury.gov/news/press-releases/tg1217.

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enterprises of the IRGC has a direct impact on revenues that could be used by the IRGC to

facilitate illicit conduct.” 60

           74.   Against the backdrop of these designations, the United Nations and Congress

were acting as well. In 2010, the United Nations Security Council issued Resolution 1929, which

imposed robust multilateral sanctions on the IRGC. Congress responded by enacting the

Comprehensive Iran Sanctions, Accountability, and Divestment Act of 2010 (“CISADA”). This

statute strengthened existing U.S. sanctions with respect to the Iranian energy industry, and

added the potential for the imposition of serious limits on foreign financial institutions’ access to

the U.S. financial system if they engage in certain transactions including Iran—including

specifically any significant transaction or significant financial services for the IRGC or any of its

sanctioned agents or affiliates, any effort of the IRGC or its agents and affiliates to provide

support for foreign terrorist organizations or acts of international terrorism, or any money

laundering relating to those objectives. The sanctions specifically include any efforts to assist the

Central Bank of Iran (also known as Bank Markazi) in carrying out prohibited activities.

           75.   The Treasury Department implemented CISADA with the Iranian Financial

Sanctions Regulations (“ISFR”), which provide in relevant part that any foreign financial

institution that provides services to IRGC affiliates risks losing the ability to open correspondent

or payable-through accounts in America. These sanctions are known as “secondary sanctions,”

which reach overseas activity by foreigners vis-à-vis sanctioned entities (as opposed to primary

sanctions, which regulate activity vis-à-vis the United States and U.S. persons abroad).

           76.   These sanctions and designations, and others like them, created tremendous

economic pressure on the IRGC. By 2011, the IRGC’s economic interests were faltering


60
     Id.

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alongside the Iranian economy, and Iran’s currency was unstable. Thus, in March of 2011, the

Supreme Leader of Iran, Ayatollah Khamenei, declared a year of “economic jihad,” which he

described as “a purposeful movement meant to counter the enemy’s ill-intentioned and hostile

movement,” i.e., sanctions targeting the IRGC.

       77.     The term “economic jihad” was a deliberately loaded one, referring both to

frustrating the intent of anti-IRGC sanctions and also to funding IRGC jihadists including the

IRGC’s terrorist proxies. Historically and at the time, terrorist groups like the IRGC, al-Qaeda,

and Hamas used calls for “economic jihad” to raise money. 61 Indeed, noted terrorism expert Dr.

Matthew Levitt explained that “‘Economic Jihad’ is a theme that features prominently in Jihadist

fundraising techniques. The concept is simple: leaders call on their supporters to engage in what

they describe as a religious duty to engage in Jihad, if not by physically fighting Islam’s enemies

then by funding those that do.” 62 Ayatollah Khamenei drew on this tradition, stressing that jihad

included many “military, political, economic, cultural, and social aspects,” including the

“resistance economy” and “cultural war” against the West. 63 And “[s]ince Khamenei first used”

the term “resistance economy” “in 2010, it has generally carried two related if different




61
  See, e.g., Jonathan Fighel, Hamas Calls For “Economic Jihad” Against the U.S., International
Institute for Counter-Terrorism (Oct. 2, 2003), https://ict.org.il/hamas-calls-for-economic-jihad-
against-the-u-s/.
62
  Matthew Levitt, Countering the Theological Case for 'Economic Jihad' Is Vital, Royal United
Services Institute (RUSI) Publication (Nov. 19, 2007) https://rusi.org/publication/countering-
theological-case-economic-jihad-vital (providing examples of calls for economic jihad by
Hezbollah, al-Qaeda, and their supporters).
63
   Mehdi Khalaji, Observations on the Islamic State in Iran, Hudson Institute (July 17, 2020),
https://www.hudson.org/research/16219-observations-on-the-islamic-state-in-iran.

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meanings—a push for self-sufficiency and domestic production, and secondly a commitment to

the central place in the economy of ‘committed’ bodies like the IRGC.” 64

       78.     Among other steps in its pursuit of economic jihad, the Iranian regime appointed

Rostam Ghasemi—the sanctioned IRGC general who previously led Khatam al-Anbiya—to lead

the Ministry of Petroleum, which supervises and controls NIOC. Even in his new role as

Minister of Petroleum, Ghasemi professed his continuing allegiance to the IRGC and described

himself to the Iranian parliament as a “soldier.” The IRGC, for its part, described Ghasemi’s new

role as a “meaningful and critical response to the attacks against the guards from the west’s

media empire.” 65 In effect, Ghasemi’s ascension comprised the IRGC’s full takeover of the

Ministry of Petroleum and of NIOC, providing the IRGC with even greater access to Iran’s oil

revenues (through NIOC and NIOC’s contracts with other IRGC entities). See Part I.C, infra.

       79.     Public sources immediately alerted Defendants that NIOC’s transactions aided

IRGC-sponsored terrorist attacks targeting the United States. Terrorism experts testified to

Congress in 2011 that “NIOC operates as the ultimate front company obscuring the role of the

IRGC in the oil trade,” and explained that Ghasemi’s appointment would only deepen the

preexisting ties between NIOC and the IRGC. 66 Expert organization United Against Nuclear Iran

(“UANI”) wrote that “working with NIOC and the IRGC” would “directly contribut[e] to Iran’s


64
  Gareth Smyth, Deciphering the Iranian Leader’s Call for a ‘Resistance Economy’, Guardian,
(Apr. 16, 2016), https://www.theguardian.com/world/iran-blog/2016/apr/19/iran-resistance-
economy-tehranbureau.
65
   See U.S. Dep’t of the Treasury, Written Testimony of Under Secretary David S. Cohen before
the Senate Committee on Banking, Housing, and Urban Affairs (Oct. 13, 2011),
https://home.treasury.gov/news/press-releases/tg1323.
66
  Mark Dubowitz, Congressional Testimony in Progress of the Obama Administration’s Policy
Toward Iran, Hearing before the Subcomm. on Nat’l Sec., Homeland Defense & Foreign
Operations, at 9 (Nov. 15, 2011), https://oversight.house.gov/wp-content/uploads/2012/01/11-15-
11_Dubowitz_NatSec_Testimony.pdf.

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capabilities to sponsor terrorism, kill and maim NATO servicemen and develop its weapons of

mass destruction programs”—for example by bankrolling “groups in Iraq and Afghanistan that

execute attacks against American and NATO servicemen,” including specifically “the Taliban,”

which was “being actively supported by Iran.” 67

       80.     The United States responded by increasing sanctions pressure on the IRGC to

prevent the IRGC from using oil revenues to support terrorism. On December 31, 2011,

Congress in the National Defense Authorization Act (“2012 NDAA”) blacklisted Bank Markazi,

imposing sanctions on foreign financial institutions doing any significant financial transactions

with that bank, as well as several other IRGC-affiliated financial institutions, with only limited

exceptions. These sanctions were imposed because Bank Markazi—which was a principal

repository of Iranian oil revenue—had stopped playing the role exclusively of a central bank, and

was participating actively in the IRGC’s illicit transactions, including transferring funds used to

support IRGC-backed terrorism.

       81.     In August of 2012, Congress enacted the Iran Threat Reduction and Syria Human

Rights Act of 2012 (“ITRSHRA”), Section 312 of which directed the Treasury Department to

determine whether NIOC was acting as an agent or affiliate of the IRGC. A month later, the

Treasury Department publicly announced that the answer was “yes.” The finding that NIOC was

effectively a front for the IRGC, triggered additional sanctions on NIOC. Specifically, under the

ITRSHRA, NIOC was sanctioned for providing support to the IRGC. And under CISADA and

the IFSR, foreign financial institutions determined to knowingly facilitate significant transactions

or provide significant financial services for NIOC were subject to sanctions, including the



67
   Continuing GAO Campaign, UANI Calls on Italian Energy Company Edison to End Business
in Iran, Business Wire (Nov. 30, 2011), https://tinyurl.com/3cjj626t.

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prohibition or imposition of strict conditions on the opening or maintaining of correspondent or

payable-through accounts in the United States. NIOC was also listed on the Specially Designated

Nationals (“SDN”) list (a list of sanctioned entities), specifically with an “IRGC” identifier after

its name. As the Foundation for Defense of Democracies explained after the Treasury

Department’s determination, “U.S. law now makes it explicitly clear that NIOC’s business

partners are doing direct business with the world’s most dangerous terrorist organization and

nuclear proliferator.” 68

        82.     By threatening to cut foreign financial institutions off from the U.S. financial

system if they continued to deal in any significant way with Bank Markazi and NIOC, these

sanctions essentially forced foreign financial institutions to choose between dealing with IRGC

fronts, or maintaining access to U.S. dollar trading—and prompted most financial institutions to

curtail their services for IRGC companies. This made it extremely difficult for the IRGC to

access revenue from its oil sales, and also to access the international financial system.

        83.     This created a problem for Iran vis-à-vis Türkiye, a major importer of Iranian oil.

Acting through illicit IRGC-brokered transactions, the Iranian regime was selling billions of

dollars of oil to Türkiye, with the proceeds credited to accounts held at Halkbank either by NIOC

or by Bank Markazi for NIOC’s (and, by extension, the IRGC’s) benefit. Those proceeds could

not be remitted to the IRGC or converted into useful international currencies (e.g., U.S. dollars)

without running afoul of the secondary sanctions, and so the money was effectively frozen in

these entities’ Halkbank accounts. By 2012, billions of dollars were frozen this way.




68
  Foundation for Defense of Democracies, Press Release, FDD Applauds Congress and
Treasury for New Iran Sanctions (Sept. 23, 2012), https://www.fdd.org/analysis/2012/09/23/fdd-
applauds-congress-and-treasury-for-new-iran-sanctions/.

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       B.      Defendants Helped the National Iranian Oil Company, a Known IRGC
               Front, Evade U.S. Anti-Terrorism Sanctions to Launder Over $20 Billion in
               Frozen Assets

       84.     Beginning in 2012, Defendants began laundering the IRGC’s NIOC oil proceeds

deposited at Halkbank. In general, the scheme worked by moving the IRGC’s money within

Halkbank to conceal its origin, and then moving the IRGC’s money out of Halkbank using

fraudulently documented gold trades to further mask its connection to the IRGC and its related

financial institutions and companies. Thus, oil money held in Halkbank accounts for NIOC and

Bank Markazi (for the benefit of NIOC and, by extension, the IRGC) typically moved first to the

Halkbank account of another IRGC-affiliated bank, for example Bank Mellat (designated for

sanctions in 2007) or its currency exchange subsidiary Mellat Exchange, or Bank Sarmayeh or

its subsidiary Sarmayeh Exchange. From there, the IRGC’s money would then move to the

Halkbank account of one of Zarrab’s many companies, which mostly, but not entirely, operated

under an umbrella organization called Royal Group that included Royal Holding A.S., Durak

Doviz Exchange, Al Nafees Exchange, Royal Emerald Investments, Asi Kiymetli Madenler

Turizm Otom, ECB Kuyumculuk Ic Vedis Sanayi Ticaret Limited Sirketi, Gunes General

Trading LLC, and others. Zarrab’s company then used the IRGC’s money to purchase gold in

Türkiye from a third party—transferring the funds to the third party’s Halkbank account. This

part of the scheme, which involved multiple transactions occurring entirely inside Halkbank,

allowed the IRGC’s money to move from sanctioned IRGC-affiliated government entities to an

unaffiliated third party without triggering outside scrutiny. The gold Zarrab purchased was then

exported to Zarrab’s companies in Dubai, which sold it to another third party. Zarrab would then

take instructions from his IRGC co-conspirators about what to do with the proceeds of the gold

sale. Most often, the IRGC would direct Zarrab to make international payments on its behalf.

Thus, Zarrab’s Dubai companies effectively became payment agents for the IRGC. But because
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Zarrab’s companies were private Dubai companies, the fact that the funds were being transferred

on behalf of NIOC and sanctioned IRGC-affiliated banks was concealed from the international

banks processing the payments (which often were U.S. banks). Thus, the IRGC evaded the NIOC

IRGC sanctions, and Halkbank evaded secondary sanctions.

       85.     Zarrab commenced the scheme by writing in late 2011 to Iranian President

Mahmoud Ahmadinejad (himself, an IRGC member), and to the head of Bank Markazi. Zarrab’s

letter denounced what he described as “world-devouring imperialism,” and stated that “serving

our beloved nation is a religious duty for every Iranian, in the year of Economic Jihad.” Zarrab

represented that his family, “with half a century of experience in exchange and moving of

currency and having been able to set up branches in the United Emirates, Turkey, Russia and

Azerbaijan,” was ready “for any collaboration in moving currency as well as adjusting the rate of

exchange under the direct supervision of the honorable economic agents of the government.”

       86.     In early 2012, Zarrab approached senior executives at Halkbank to discuss ways

to facilitate access to NIOC money held in Halkbank accounts. Zarrab proposed using NIOC

money to purchase gold. Recognizing the illegality of the scheme, Halkbank’s general manager,

Suleyman Aslan, initially refused. Zarrab responded by bribing the Turkish minister of the

economy, Zafer Caglayan, to help broker the transaction with Halkbank and to prevent scrutiny

from the Turkish government.

       87.     With Caglayan’s blessing, Halkbank assisted Zarrab in carrying out the gold

scheme. Thus, under instruction from Aslan, Halkbank deputy general manager Atilla showed

Zarrab how to prepare documents masking his transactions and concealing their illicit

connections to NIOC and its affiliates. Atilla provided coaching about how Zarrab should fill out




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required paperwork to give the appearance of compliance with sanctions laws—even though the

underlying transactions at all times violated U.S. sanctions.

       88.     With Halkbank’s coaching, Zarrab prepared falsified documents stating that the

gold sales were for the benefit of private Iranian companies (as opposed to IRGC fronts); other

times, Zarrab prepared documents falsely stating that the gold was being repatriated to Iran

(which was permissible under a then-existing loophole that permitted the proceeds of oil to be

used to purchase goods that traveled back to Iran). In fact, the gold was being converted to cash

in Dubai for the benefit of the IRGC front NIOC.

       89.     Halkbank knew how the entire scheme worked. In an e-mail sent on June 20,

2012, Halkbank executive Levent Balkan, who headed Halkbank’s foreign operations

department, told Aslan and other colleagues that “the gold, which is left in Dubai, can be used in

all kinds of foreign payments of Iran, either in gold or in foreign currency. The fact that these

gold deposits are collected in the various fiduciary accounts and used for international payments

of the forbidden Iranian banks in Dubai (such as Bank Melli, Bank Saderat), or Bank Mellat in

Turkey. The gold transaction volume has reached remarkable dimensions in terms of

international Iran sanctions.”

       90.     In fact, Balkan’s involvement went beyond mere knowledge. According to public

reports that surfaced in 2017, Balkan was “the key operative in assembling a team and setting up

clandestine schemes on behalf of [the IRGC] in moving funds through Turkey.” 69 Thus,

wiretaps recorded on June 18, 2013 revealed that Balkan was “intimately involved with Seyed

Ali Ekber Mir Vakili, an IRGC general and pointman who was responsible for [the IRGC’s]



69
 Abdullah Bozkurt, US-indicted Turkish banker's ties to Iran's IRGC ensnare Greece, Turkish
Minute (Nov. 19, 2017).

                                                 35
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covert operations in Turkey.” 70 These individuals discussed “how they could set up new schemes

using several Turkish banks to continue moving IRGC funds through Turkey after the US

imposed further restrictions on Iran, especially on companies affiliated with the IRGC.” 71

“Thinking that they were secure in the car and that nobody was eavesdropping on their

conversation, they were speaking quite openly about the IRGC, the Grand Ayatollah and Iranian

political leaders.” 72 In the conversation, Balkan expressed sympathy toward the Iranian

Revolution, and stated that he was “not an outsider, but rather an inside man.” 73 In the

conversation, Vakili urged Balkan to “focus on the technical aspects of the business he would be

running to circumvent sanctions after gold trade was also placed under the sanctions regime by

the US.” 74 Thus, a senior Halkbank executive was conspiring directly with an IRGC-QF general

to establish an IRGC money laundering operation through the bank. Additional wiretaps revealed

that Balkan was complicit in facilitating IRGC transactions throughout his time at Halkbank. 75

           91.   Zarrab also arranged meetings at Halkbank with IRGC officials and IRGC-

affiliated bank executives to discuss ways to increase the amount of the IRGC’s oil proceeds that

could be laundered through the scheme. For example, NIOC’s finance director met with the

IRGC’s banks at Halkbank on or about October 4, 2012 to discuss ways to transfer oil revenue

held in banks around the world to Halkbank so that more IRGC money could be laundered

through the gold scheme. NIOC also requested that Halkbank make payments on its behalf


70
     Id.
71
     Id.
72
     Id.
73
     Id.
74
     Id.
75
  See Abdullah Bozkurt, JP Morgan and Kardemir Embroiled in Iran Sanctions-Busting
Scandal at Halkbank, Stockholm Center for Freedom (Nov. 22, 2017).

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directly. Halkbank executives Aslan and Atilla refused to do so because such payments would

have constituted detectable sanctions violations traceable to Halkbank; instead, they instructed

NIOC to continue using Zarrab’s gold laundering system. At all times, however, Aslan, Atilla,

and Balkan were scheming to help NIOC and the IRGC evade U.S. sanctions as effectively as

possible, with full knowledge of what they were doing and who they were doing it for.

       92.     Halkbank also lied to the U.S. Treasury Department, including at in-person

meetings with Treasury officials in Istanbul and in Washington, D.C. When data revealed a

dramatic increase in Türkiye’s gold exports in 2012, the Treasury Department grew suspicious

that the Iranian government could be behind the transactions. High-ranking government

officials—including David Cohen, who was Undersecretary for Terrorism and Financial

Intelligence, and Adam Szubin, the head of OFAC—reached out to Halkbank specifically to

advise it of the applicable sanctions, and of the need to comply. These officials traveled

personally to Türkiye to discuss these issues with Halkbank executives, and also hosted meetings

in Washington, D.C. with those same executives. The Halkbank executives—including Aslan

and Atilla—repeatedly lied to the Treasury Department about what Halkbank was doing,

insisting that the transactions were not for the benefit of the Iranian government. Atilla also

promised that Halkbank would cease mediating gold transactions as of June 1, 2013 in order to

comply with new sanctions against the direct or indirect sale or supply of gold to Iran—but

Halkbank continued to do so for at least the rest of 2013. In a call in October 2013, Atilla again

lied to OFAC director Szubin about Halkbank’s ongoing role in gold transactions.

       93.     In February and March of 2013, as U.S. anti-terrorism sanctions tightened around

the gold scheme, Halkbank and Zarrab designed an alternative mechanism to launder the IRGC’s

oil money through NIOC. Instead of executing gold trades and lying about where the gold was



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headed, Defendants fabricated entirely fake food trades to exploit a humanitarian exception that

allowed Iran to use oil money to purchase food and medicine for its people. The scheme was

conceived by Zarrab and Aslan, and implemented with help from Atilla and Balkan. Under it,

NIOC transferred funds to Zarrab’s companies in Türkiye as payment for purported food sales,

and Zarrab’s companies transferred those funds to Zarrab’s other companies in Dubai, which

posed as food suppliers. Once in Dubai, the funds were used to fulfill NIOC’s international

payment requests. But no food was actually shipped. This scheme came online in July 2013.

       94.     Deception was essential to the food scheme. Defendants thus collaborated to

prepare fake documents creating the appearance of massive amounts of food sales, when in fact

none were occurring. To make the system flow smoothly, Halkbank waived certain

documentation requirements. For example, it did not require Zarrab to produce bills of lading,

because bills of lading could be traced, and any tracing would have revealed that the underlying

food transactions were fraudulent and exposed the entire scheme. Sometimes, when Zarrab’s

companies (which had never traded in food) made other mistakes in the documentation that

threatened to expose the scheme (e.g., representing that more food had been transported than a

ship could realistically hold, or representing that a ship had made an unrealistic number of

voyages in a given time period), Halkbank executives (usually Atilla) would coach Zarrab and

his employees about ways to make the documents appear more legitimate.

       95.     The United States government estimated that Zarrab and Halkbank transferred

approximately $1.5 billion worth of currency from Halkbank to Dubai using fake food

transactions between July and December 2013.




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       96.      In December 2013, the Turkish police arrested Zarrab, Aslan, and others in

connection with this scheme. But Zarrab paid bribes to secure release for himself and his co-

defendants in February 2014.

       97.      Naturally, the arrests drew attention in Türkiye and in America. On December 23,

2013, Halkbank’s board of directors sought to resolve that attention by unequivocally—and

falsely—proclaiming its compliance with the law. Thus, the board of directors made a public

announcement, posted to the “Material Events” tab of the “Investor Relations” portion of

Halkbank’s website, where it decried “a number of unfair and unwarranted statements about

Halkbank in the media in recent days.” This document contained multiple false statements:

       (a) The statement asserted that “it must be known that Halkbank, from the first day ever,

             has fully complied with national and international rules and regulations in all its

             business operations and transactions.” That was false because Halkbank’s conduct

             exposed it to secondary sanctions under CISADA and the ISFR, as well as other

             international sanctions on Iran and the IRGC.

       (b) According to Halkbank, “[a]ll foreign trade transactions and money transfers are

             carried out in an open and transparent manner which can be monitored by the related

             authorities on the system.” That was false because Halkbank was systematically

             helping Zarrab move money in ways designed to obscure the flow of funds and evade

             regulatory scrutiny.

       (c) Halkbank also proclaimed that “[t]he Bank has never become a party to any

             commercial activity, the nature of which is unknown or which is lawless and has

             never executed any transfer of unidentified origin or nature.” That was false because

             Halkbank’s transactions for the IRGC front NIOC were lawless.



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(d) Halkbank stated that “[t]he intermediation services offered by Halkbank for the trade

   with Iran has been realized fully within the framework explained above. This trade

   activity is confined to the payments for the crude oil and natural gas imports of our

   country from Iran as well as the payments covering the proceeds of goods or services

   exported to Iran which are not subject to sanctions. As mentioned earlier the source

   and usage of the funds utilized for these payments as well as the parties to the foreign

   trade are clear, transparent, and traceable on the system.” That was false because the

   payments for NIOC and Bank Markazi were not used exclusively for those purposes,

   and they were masked to make them difficult to trace.

(e) Halkbank further stated that “[i]n respect of the trade between Turkey and Iran . . . the

   Bank has requested all documents from its customers that it is legally obliged to

   demand and examine, checked them in accordance with the regulations and kept them

   available and ready for audit.” That was misleading because Halkbank had knowingly

   helped Zarrab falsify documents.

(f) The statement also reiterated the previous lie that transactions involving precious

   metals to Iran had “ceased as of June 10, 2013,” when in fact that transactions

   continued until closer to the end of 2013.

(g) The statement concluded definitively that “Halkbank has neither engaged in any

   business or transaction that violates any national or international rule or regulation,

   nor has the legal entity of Halkbank been subjected to any probe or investigation

   initiated by the law enforcement officers or the courts.” That was false because many

   of Halkbank’s transactions violated international sanctions, including U.S. anti-

   terrorism sanctions.



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Notwithstanding these many false statements, the Board declared that it had “spent all the

necessary efforts to obtain complete and accurate information” about this matter, and that it was

“responsible for all statements made in this regard.” These statements had the purpose and effect

of concealing the scheme from outside scrutiny.

       98.     Once the scrutiny had calmed after their release, Zarrab and Halkbank (still

including Atilla, as well as a new general manager, Ali Fuat Taskinoglu) resumed their illicit

food and gold transactions. The Turkish case was dismissed in October 2014 because of more

bribe payments.

       99.     To shield the new trades from scrutiny, Halkbank began requiring additional

documents from Zarrab (for example certificates of inspection for goods), but again coached

Zarrab to prepare those documents to look legitimate, even though the underlying transactions

were fictitious.

       100.    The Treasury Department also asked Halkbank executives directly about the

scope of the bank’s dealings with Zarrab. In response, Atilla lied about the scope of Zarrab’s

business, describing him as the recipient of some bank loans and involved in unspecified foreign

trade, never mentioning Zarrab’s gold and food export schemes.

       101.    Defendants’ illicit transactions with the IRGC continued until March of 2016,

when Zarrab was arrested by U.S. authorities while visiting Miami, Florida. Zarrab pleaded

guilty to various offenses arising out of this alleged conduct in 2017. Atilla was arrested in

March of 2017; Zarrab testified for the government at Atilla’s trial; and Atilla was convicted in

early 2018 of several federal offenses arising out of the alleged conduct. Halkbank was indicted

in 2019; the criminal case against it is ongoing. Other Halkbank officers, including Aslan and

Balkan, were also indicted, but remain fugitives.



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       102.    The United States government alleged that through the means described above,

Halkbank illicitly transferred approximately $20 billion worth of otherwise restricted Iranian

funds to the IRGC, and that senior Halkbank officers acting within the scope of their

employment and for the benefit of Halkbank concealed the true nature of these transactions from

U.S. Treasury Department officials so that Halkbank could supply billions of dollars to the IRGC

through NIOC and its affiliates without being sanctioned by the United States and losing its

ability to hold correspondent accounts with U.S. financial institutions.

       103.    Some independent analysts put the number far higher. According to money

laundering expert and former U.S. government investigator John Cassara, for example,

“Turkey’s state-owned Halkbank” was “part of” a “conspiracy … of engaging in a complex

TBML scheme where gold and cash was routed from Turkey to Iran through an elaborate

network of businesses, banks, and front companies”; “It is estimated the money laundering and

value transfer could have helped Iran pocket more than $100 billion! This could be one of the

largest — if not the largest — money laundering case in history.” 76

       C.      At All Relevant Times, the National Iranian Oil Company Was a Known
               Front for the IRGC, Which Used and Uses Oil Revenue to Promote
               Terrorism

       104.    By the time Defendants’ unlawful scheme to launder NIOC’s frozen funds began

in 2012, they knew that NIOC was a front for the IRGC, that a substantial amount of NIOC’s

revenue flowed through to the IRGC either directly or through contracts awarded to IRGC

entities, and that the sanctions on NIOC were designed to prevent the IRGC from accessing oil

revenue that it could use to promote anti-American terrorism. Indeed, the media and U.S.



76
  John A. Cassara, Money Laundering and Illicit Financial Flows: Following the Money and
Value Trails 85-86 (2020).

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authorities had explicitly warned businesses worldwide that transacting with NIOC created

unacceptable risks of promoting the IRGC’s terrorism. Consequently, Defendants knew that they

were subsidizing the IRGC’s worldwide support for terrorism.

           105.   On April 26, 2010, IHS Global Insight reported that IRGC companies were

“increasingly being awarded tenders by NIOC and its subsidiaries . . . creating potential

significant problems for . . . foreign firms” dealing with NIOC and its subsidiaries “given the

specific international sanctions against dealing with Revolutionary Guards affiliates and the U.S.

classification of the outfit as a terrorist organisation.”

           106.   Around the same time, multiple media sources reported that the Ministry of

Petroleum had awarded the IRGC’s engineering company, Khatam al-Anbiya, multi-billion

dollar contracts to develop a major gas field in Iran. As explained supra, the Treasury

Department sanctioned Khatam al-Anbiya and Rostam Ghasemi in February 2010, again

highlighting that the IRGC was controlled substantial parts of Iran’s oil industry, and explicitly

noting that “[t]he profits from these activities are available to support the full range of the

IRGC’s illicit activities, including . . . support for terrorism.” 77

           107.   In August 2011, Ghasemi was appointed Minister of Petroleum, taking control of

the agency that in turn controls NIOC. Public sources reported that General Ghasemi was “under

US and EU sanctions.” 78 The same article reported that General Ghasemi, speaking in

parliament, described himself as a “soldier[] of the Islamic Republic’s Revolutionary Guards.” 79

President Ahmadinejad similarly described Ghasemi as a “child of the revolution,” who would


77
     Press Release, supra n.21.
78
   Iran’s Parliament Approves New Oil Minister, Al Jazeera (Aug. 3, 2011),
https://www.aljazeera.com/news/2011/8/3/irans-parliament-approves-new-oil-minister.
79
     Id.

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“transform” the oil industry “in line with national interests.” 80 Ghasemi’s confirmation to the

post was accordingly “a defiant message to Iran’s foes”—specifically, as one Iranian lawmaker

explained, so that Western nations “do not think that when they impose sanctions parliament will

pay any attention.” 81

           108.   Ghasemi was personally involved in the IRGC’s sanctions-evasion and money-

laundering scheme in this case: Zarrab testified that Ghasemi attended a meeting in May 2013,

along with other high-level Iranian officials (including high-level individuals from NIOC and its

affiliates) as well as Aslan, where Iranian officials asked Halkbank to also launder money from

other banks around the world, and to allow NIOC to make direct payments to third parties in

violation of sanctions.

           109.   An article published in early 2012 by Ali Alfoneh, a fellow at the American

Enterprise Institute, entitled Iran’s Revolutionary Guards Strike Oil, explained that Ghasemi’s

appointment was tantamount to “the IRGC’s seizure of the Oil Ministry,” which “could have far

reaching economic, political, and strategic implications.” 82 The article opined that for Ghasemi,

“the interests of the IRGC outweigh the interests of the Iranian state,” and that “[t]he IRGC

lobbied hard for the candidacy of [Ghasemi],” in part so that the IRGC could achieve “its main

goal: access to Iran’s foreign exchange reserve,” i.e., Iran’s oil revenue. 83




80
  Robin Pomeroy, Ramin Mostafavi, Military Officer Becomes Iran’s New Oil Minister, Reuters
(Aug. 3, 2011), https://www.reuters.com/article/iran-oil-minister-vote-
idAFL6E7J31E020110803.
81
     Id.
82
   Ali Alfoneh, Iran’s Revolutionary Guards Strike Oil, AEI (Feb. 16, 2012),
https://www.aei.org/articles/irans-revolutionary-guards-strike-oil/.
83
     Id.

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          110.    On November 15, 2011, Mark Dubowitz, president of the Foundation for Defense

of Democracies, testified in front of the House Subcommittee on National Security, Homeland

Defense, and Foreign Operations. Dubowitz advocated for stronger sanctions against Iran,

specifically targeting the IRGC’s control of the oil industry. Dubowitz testified that the IRGC

was “unquestionably the dominant force throughout Iran’s energy sector, including the sale of

Iran’s oil,” and that “the United States should also consider designating Iran’s state-owned

National Iranian Oil Company (NIOC). NIOC is a party to every Iranian oil transaction.

Leveraging its position as a state-owned institution, NIOC operates as the ultimate front

company in obscuring the role of the IRGC in the oil trade.” 84 Dubowitz further testified that

“[t]he Central Bank of Iran, like the National Iranian Oil Company, and other IRGC entities

discussed above—are critical links in the IRGC-dominated oil supply chain and key enablers of

the IRGC’s proliferation activities, terrorist operations and human rights abuses.” 85

          111.    Also in November 2011, UANI publicly called on Italian energy company Edison

SpA to stop doing business in Iran. In its appeal, UANI stated that “[t]he IRGC is a known

terrorist entity in control of Iran’s oil, gas, and petrochemical sectors. . . . The IRGC also

‘bankrolls’ groups in Iraq and Afghanistan that execute attacks against American and NATO

servicemen. . . . By working with NIOC and the IRGC to develop Iran’s oil sector, Edison is

directly contributing to Iran’s capabilities to sponsor terrorism, kill and maim NATO servicemen

and develop its weapons of mass destruction programs.” 86


84
     Dubowitz, supra n.66, at 8-9.
85
     Id. at 15.
86
   United Against Nuclear Iran, Open Letter to Giuliano Zuccoli (Nov. 29, 2011),
https://www.unitedagainstnucleariran.com/sites/default/files/IBR%20Correspondence/UANI_Let
ter_to_Edison_112911.pdf. This letter was publicized in the press, including in publications like
Business Wire. See supra n.67.

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          112.   These public disclosures were part of a larger public discourse about the role that

Iran’s petroleum sector, and NIOC specifically, played in the IRGC’s support for terrorism.

Based on these and similar sources, the U.S. government stepped up its sanctions targeting the

IRGC’s use of Iranian petroleum exports, including imposing specific sanctions on businesses

providing services to NIOC, as well as secondary sanctions on foreign financial institutions.

          113.   In August 2012, Congress enacted the ITRSHRA. Section 312 expressed “the

sense of Congress that the National Iranian Oil Company and the National Iranian Tanker

Company are not only owned and controlled by the Government of Iran but that those companies

provide significant support to Iran’s Revolutionary Guard Corps and its affiliates.” 126 Stat.

1249. The statute specifically ordered the Secretary of the Treasury to determine within 45 days

whether NIOC was an agent or affiliate of the IRGC, and to impose additional sanctions under

CISADA and the ISFR if the answer was “yes.”

          114.   In September 2012, the Treasury Department presented a report to Congress

concluding that NIOC was an agent or affiliate of the IRGC. Although full details of the report

were not published, the bottom-line conclusion was. The Treasury Department publicly

announced that that “the IRGC’s influence has grown within NIOC” under the current regime,

and that “the IRGC has been coordinating a campaign to sell Iranian oil in an effort to evade

international sanctions.” 87

          115.    Reacting to the Treasury Department’s determination, Dubowitz publicly

commented that “U.S. law now makes it explicitly clear that NIOC’s business partners are doing

direct business with the world’s most dangerous terrorist organization,” 88 i.e., the IRGC.



87
     Press Release, supra n.30.
88
     Press Release, supra n.68.

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       116.    Over time, information linking NIOC and its subsidiaries to the IRGC only

became more robust. Thus, in 2013, the Treasury Department designated Iranian businessman

Babak Morteza Zanjani as well as NIOC’s affiliate the Naftiran Intertrade Company Ltd.

(“NICO”) for their connection to NIOC.

       117.    Those entities both did business with Zarrab. Zarrab himself testified in Atilla’s

criminal trial that Zanjani sent 1.5 tons of gold for Zarrab to move. Subsequent news reports

indicated that the relationship was far deeper than just a single gold shipment: According to one

of Zarrab’s gold haulers, “Zanjani and Zarrab were partners in every work.” 89

       118.    Zarrab also testified that he often dealt with NICO executives because NICO was

“a front company” that “had more range of movement, in terms of its authority to make

decisions,” than NIOC. Zarrab testified that the distinction did not matter because “NICO and

NIOC are one and the same,” and that NICO executives attended meetings to establish the

laundering scheme for NIOC’s funds.

       119.    Sanctions against NIOC were temporarily lifted in 2016 as part of what is

commonly described as the “Iran nuclear deal.” Those sanctions were subsequently reimposed

during the Trump administration, which clarified that NIOC’s involvement in terrorism had

persisted. A slew of reports from 2018 to 2020 showed that the IRGC-QF used NIOC to sell oil

around the world, generating funds that the IRGC-QF could use to support terrorism abroad.

       120.    On January 23, 2020, OFAC described NIOC as “an entity instrumental in Iran’s

petroleum and petrochemical industries, which helps to finance Iran’s Islamic Revolutionary



89
   Tom Stocks et al., ‘The Government Is In on It': An Insider’s Account of the Reza Zarrab
Conspiracy, Organized Crime and Corruption Reporting Project (Sept. 20, 2020),
https://www.occrp.org/en/the-fincen-files/the-government-is-in-on-it-an-insiders-account-of-the-
reza-zarrab-conspiracy.

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Guard Corps – Qods Force (IRGC-QF) and its terrorist proxies.” 90 In that same release, the

Treasury Secretary commented that “Iran’s petrochemical and petroleum sectors are primary

sources of funding for the Iranian regime’s global terrorist activities.” 91

           121.   October 26, 2020, OFAC designated the Iranian Ministry of Petroleum, NICO and

the National Iranian Tanker Company “for their financial support to Iran’s Islamic Revolutionary

Guard Corps-Qods Force (IRGC-QF).” 92 The government observed that “[t]he cooperation and

coordination between the IRGC-QF and these entities extends well beyond the simple sale of oil,

including coordination between NIOC and the Central Bank of Iran to facilitate the collection of

tens of millions of dollars in proceeds from the sale of oil that benefitted the IRGC-QF.” 93 The

Secretary of the Treasury himself commented that “[t]he regime in Iran uses the petroleum sector

to fund the destabilizing activities of the IRGC-QF.” 94

           122.   Although some of these statements were published after the attacks in this case

took place, they described a consistent pattern of conduct that existed at all relevant times

throughout Defendants’ scheme with the IRGC. These sources show that NIOC was closely

intertwined with terrorist violence because the IRGC used revenues from NIOC oil sales to

finance terrorist attacks.




90
   U.S. Dep’t of the Treasury, Press Release, Treasury Targets International Network Supporting
Iran’s Petrochemical and Petroleum Industries (Jan. 23, 2020),
https://home.treasury.gov/news/press-releases/sm885.
91
     Id.
92
   U.S. Dep’t of the Treasury, Press Release, Treasury Sanctions Key Actors in Iran’s Oil Sector
for Supporting Islamic Revolutionary Guard Corps-Qods Force (Oct. 26, 2020),
https://home.treasury.gov/news/press-releases/sm1165.
93
     Id.
94
     Id.

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         D.     The IRGC Used the National Iranian Oil Company’s Assets to Sponsor
                Terrorist Attacks on Americans Through Proxies in Afghanistan and Syria

         123.   At all times relevant to the allegations herein, the IRGC was leading an

international terrorist conspiracy. The object of the conspiracy was to expel the United States

from the Middle East, including Afghanistan and Syria. That objective was foundational to the

IRGC, which regards the United States as the “Great Satan,” and believes that the United States’

presence anywhere in the Middle East is contrary to the interests of the Iranian Revolution.

         124.   Participants in the conspiracy included, but were not limited to, three IRGC

entities (the Regular IRGC, the IRGC-QF, and Hezbollah), various IRGC fronts (including

NIOC), and allied terrorist groups. In Afghanistan, this included al-Qaeda and the Taliban,

including its Haqqani Network. In Syria, this included al-Qaeda, al-Qaeda-in-Iraq, and al-Nusra

Front.

         125.   Anti-American purpose was strongly shared as between the IRGC (a Shiite

organization) and the syndicate groups in Afghanistan (Sunni organizations). These groups share

relatively little common ground, except for their desire to inflict casualties on the United States

and expel the United States from the Middle East. The support the IRGC provided to syndicate

terrorists in Afghanistan was specifically designed to promote that goal.

         126.   The Treasury Department noted the IRGC-QF’s support for the Taliban when it

designated the IRGC-QF an SDGT in 2007. As the Treasury Department explained, the support

included weapons and financial support specifically intended to inflict casualties on U.S. and

NATO forces. See supra ¶ 68.

         127.   That support continued over the subsequent years, In June 2008, the Treasury

Department explained that “[t]he Qods Force, designated under E.O. 13224 for providing

material support to terrorists, is the regime’s primary mechanism for cultivating and supporting


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terrorists and Islamic militants to advance Iranian national interests. The Qods Force provides

training, weapons, and financial support to surrogate groups and terrorist organizations including

. . . the Taliban and Islamic militants in Afghanistan . . . The Qods Force plays a central—yet

often hidden—role in security interests, including Iraq and Afghanistan. Qods Force officers

often use various cover mechanisms—including diplomatic, non-governmental organization,

humanitarian, and media—for conducting operational activity, belying their military

affiliation.” 95

           128.    On August 3, 2010, the Treasury Department reiterated that “[t]he IRGC-QF is

the Government of Iran’s primary arm for executing its policy of supporting terrorist and

insurgent groups. The IRGC-QF provides material, logistical assistance, training and financial

support to militants and terrorist operatives throughout the Middle East and South Asia.” 96 The

government was explicit that “[i]n Afghanistan, the IRGC-QF provides select members of the

Taliban with weapons, funding, logistics and training.” 97

           129.    The District Court for the District of Columbia found in Cabrera that the IRGC

provides substantial support to the syndicate. There, the court, after considering expert testimony

and reports on the subject, recognized that “the IRGC is the primary driver of Iran’s terror

activities,” and that “its support for terrorism is foundational and institutional.” 98 This includes

partnering with “groups (like the Taliban in Afghanistan) that share its goals of expelling the




95
  U.S. Dep’t of the Treasury, Press Release, Treasury Designates Individuals, Entity Fueling
Iraqi Insurgency (Jan. 9, 2008), https://home.treasury.gov/news/press-releases/hp759.
96
     Fact Sheet, supra n.54.
97
     Id.
98
     Cabrera, 2022 WL 2817730, at *9 (cleaned up).

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United States and reinstating the Islamic Emirate.” 99 “Iran’s support significantly contributed to

the Syndicate’s success in” “end[ing] the American and Coalition occupation by killing and

wounding American soldiers.” 100 And “Iran’s support was fungible: although Iran, the IRGC,

and the Qods Force may not have been involved in the details of individual attacks, the money,

training, weapons, and expertise Iran provided were critical to the Syndicate’s success.” 101 This

“cross-cutting organizational support” allowed Iran to “substantially contribute[]” to terrorist

attacks on Americans in Afghanistan. 102

            130.   The IRGC provided vital financial, operational, and logistical aid to al-Qaeda

core, which allowed the latter to provide direct assistance to al-Qaeda’s operatives in Iraq and

Syria from 2003 through 2013. “Osama bin Laden” himself “described” the Iranian aid

facilitated by the IRGC “as al-Qaeda’s ‘main artery for funds, personnel, and

communication.’” 103

            131.   The U.S. government concurred. In July 2011, the Treasury Department publicly

stated “that Iran is a critical transit point for funding to support al-Qa’ida’s activities in

Afghanistan and Pakistan,” and “the core pipeline through which al-Qa’ida moves money,

facilitators and operatives from across the Middle East to South Asia.” 104 Treasury Assistant

Secretary Daniel L. Glaser testified in September 2011 that one of the Treasury Department’s



99
     Id. at *10.
100
      Id.
101
      Id.
102
      Id.
103
      Id.
104
   U.S. Dep’t of Treasury, Press Release, Treasury Targets Key Al-Qa’ida Funding and Support
Network Using Iran as a Critical Transit Point (July 28, 2011),
https://home.treasury.gov/news/press-releases/tg1261.

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“most important acts against Iranian state sponsorship occurred just two months ago when we,

for the first time ever, exposed Iran’s secret agreement with al-Qa’ida members, which allows

al-Qa’ida to funnel funds and operatives through Iranian territory.” 105

            132.   Similarly, the District Court in Cabrera found that the IRGC “share[d] a close

relationship with al-Qaeda,” and “supported al-Qaeda’s activities around the world.” 106 “After

the September 11 attacks, Iran and al-Qaeda had a ‘secret deal’ that Iran would serve as al-

Qaeda’s base of operations and provide safe haven for al-Qaeda terrorists and their families who

were driven from Afghanistan.” 107 “The same close relationship extended to al-Qaeda’s

operations in Afghanistan: Iran’s support of al-Qaeda allowed it to exist insulated from the

pressures of American and Coalition forces in Afghanistan and, in turn, al-Qaeda provided

tactical and operational support to the Syndicate [of terrorist groups that included the Taliban,

including its Haqqani Network] in Afghanistan.” 108

            133.   Through al-Qaeda’s same IRGC-provided “main artery,” the IRGC powered

al-Qaeda’s attacks in Iraq and Syria just like the IRGC enabled al-Qaeda’s attacks in Afghanistan

and Pakistan. The IRGC, directly and through its alliance with al-Qaeda, provided AQI and ANF

with essential financial, operational, and logistical aid that allowed AQI and ANF to successfully

target Americans in Iraq and Syria.

            134.   For example, in 2011, the U.S. Department of the Treasury publicly concluded

that the IRGC operationalized Iran’s secret deal with al-Qaeda, which enabled al-Qaeda’s,


105
   U.S. Dep’t of Treasury, Press Release, Written Testimony of Treasury Assistant Secretary
Daniel L. Glaser before the House Financial Services Subcommittee on Oversight and
Investigations (Sept. 6, 2011), https://home.treasury.gov/news/press-releases/tg1287.
106
      Cabrera, 2022 WL 2817730, at *10 (cleaned up).
107
      Id.
108
      Id.

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including al-Qaeda-in-Iraq’s, transnational logistics, fighters, finances, and weapons to move

unimpeded from Syria and Iraq all the way through ton Afghanistan and Pakistan, with the IRGC

serving as al-Qaeda’s, including al-Qaeda-in-Iraq’s, bridge between Iraq/Syria and

Afghanistan/Pakistan. 109

          135.   Other U.S. government findings confirmed these points. In 2012, for example, the

Treasury Department designated the Iranian Ministry of Intelligence and Security an SDGT in

part “for its support to terrorist groups, including al Qa’ida, al Qa’ida in Iraq, Hizballah and

HAMAS, again exposing the extent of Iran’s sponsorship of terrorism as a matter of Iranian state

policy,” 110 which MOIS pursued through its collaboration with the IRGC. And in 2014, the

Treasury Department publicly confirmed that the IRGC’s aid to al-Qaeda allowed “al-Qa’ida’s

Network in Iran” to “mov[e] funding and foreign fighters through Turkey to support al-Qa’ida-

affiliated elements in Syria, including the al-Nusrah Front.” 111

II.       DEFENDANTS WERE GENERALLY AWARE THAT THEY WERE PLAYING
          A ROLE IN ILLEGAL ACTIVITY THAT FORESEEABLY RISKED
          TERRORISM

          A.     Defendants Knew That They Were Playing a Role in Illegal Activity, and
                 Willingly Joined the IRGC’s Conspiracy

          136.   Defendants knew at all times that by laundering vast sums of money for the IRGC

and its fronts, they were playing a role in illegal activity.




109
      Press Release, supra n.104.
110
   U.S. Dep’t of Treasury, Press Release, Treasury Designates Iranian Ministry of Intelligence
and Security for Human Rights Abuses and Support for Terrorism (Feb. 16, 2012),
https://home.treasury.gov/news/press-releases/tg1424.
111
   U.S. Dep’t of Treasury, Treasury Targets Networks Linked To Iran (Feb. 6, 2014),
https://home.treasury.gov/news/press-releases/jl2287. The IRGC comprised the primary
referenced Iranian government actor in this designation.

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        137.    Zarrab understood from the inception of the scheme that he was participating in

“economic jihad” by helping the IRGC evade sanctions. Indeed, he proposed the scheme to

President Ahmadinejad and to the head of Bank Markazi as a way to help evade sanctions using

his family’s expertise in currency exchange in aid of the IRGC. From the very beginning, then,

Zarrab knew that he was helping the IRGC evade anti-terrorism sanctions, and agreed to do so.

        138.    Zarrab commenced the scheme by paying bribes to Turkish officials to allow him

to access NIOC funds—actions that show Zarrab’s consciousness of guilt and willingness to

break the law to assist terrorists.

        139.    On one occasion, on May 6, 2013, NIOC accidentally attempted to transfer

approximately 70 million Turkish Lira directly to one of Zarrab’s accounts. Zarrab demanded

that the bank not execute the transfer because any direct transfer between NIOC and his

companies would raise suspicion and result in the exposure of his scheme. As Zarrab testified at

Atilla’s trial, the transfer was a mistake “[b]ecause of the rules and regulations of the United

States, and United Nations, I could not receive . . . [g]as or oil money directly to my account.”

Zarrab elaborated that “they could not send it to me because of the sanctions, regulations and

rules. If they would be able to send it to me, they could also be able to make their own foreign

payments in the world.” This incident, and Zarrab’s subsequent description of it, shows that

Zarrab knew at the time that he was structuring transactions to evade anti-terrorism sanctions,

knew that the purpose of the sanctions was to stop NIOC from accessing international financial

markets, and knew that the transactions he was executing were unlawful.

        140.    Zarrab also met directly with IRGC agents to discuss ways to launder their

money. At these meetings, Zarrab learned, if he did not already know, that he was laundering

money for the IRGC.



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       141.    The deceptive nature of the schemes was such that Defendants would have

understood they were unlawful. The gold scheme required defendants to tell a series of lies about

the parties who benefited from the gold transactions as well as the destination of the gold, and to

prepare false documents embodying those lies. The food scheme required equally brazen lies,

i.e., representations that food shipments were taking place when none were in fact occurring.

These lies were necessary—and Defendants told them—because Defendants knew the identity of

their ultimate counterparty (i.e., the IRGC and its terrorist proxies) and knew that the true nature

of their transactions was unlawful.

       142.    Zarrab and several Halkbank executives were arrested by Turkish police in 2013,

escaping only because Zarrab paid more bribes to Turkish authorities. This arrest established

again that Defendants’ conduct was illegal. But rather than cease the misconduct, Zarrab and

Halkbank resumed it immediately upon Zarrab’s release from prison—indeed, even before the

Turkish charges were dismissed. The arrest, the bribes, and the resumption of culpable activity

all show that Defendants knew that their conduct was illegal.

       143.    Ultimately, Zarrab pleaded guilty to criminal offenses including sanctions

violations, bank fraud, and money laundering—all of which have mens rea elements, admitting

that he knew at the time that he was playing a role in illegal activity.

       144.    Halkbank executives, including Aslan, Atilla, and Balkan, also knew that their

conduct was illegal. Aslan initially refused to start the scheme because he knew it was illegal,

and only agreed to do so after receiving assurances from the (bribed) Turkish minister of the

economy. Aslan himself then accepted bribes from Zarrab to start up and maintain the scheme,

which were only necessary because the scheme was illegal. Aslan was also charged by Turkish




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authorities for his role in the scheme, and later indicted by the United States. All of these events

show that Aslan knew, at all times, that the sanctions evasion scheme was unlawful.

       145.    Atilla structured transactions to evade sanctions detection—an act that was only

necessary because Atilla understood that the transactions were illegal. U.S. government officials

David Cohen and Adam Szubin testified that when they met with Atilla, they received

assurances that Halkbank understood the sanctions and were complying with them. Indeed, on

February 12, 2013, Szubin specifically pulled Atilla aside after their meeting to explain, in no

uncertain terms, that the Treasury Department had concerns about Halkbank, and that

Halkbank’s compliance with the sanctions laws was essential. Atilla responded that Halkbank

understood and would follow the law.

       146.    Atilla understood the sanctions laws—including their purposes and

requirements—but instead of using his knowledge to promote compliance, he used it to advise

Zarrab about how to better evade those laws. To that end, Atilla devised ways for Zarrab to

prepare false documents misrepresenting the nature of his gold and food transactions, and

coached Zarrab in the preparation of these documents so that they appeared more realistic and

were therefore less likely to draw regulatory scrutiny.

       147.    Ultimately, a U.S. jury convicted Atilla of conspiracy to defraud the United

States, conspiracy to violate sanctions laws, bank fraud, conspiracy to commit bank fraud, and

conspiracy to commit money laundering. These offenses require the defendant to have acted

knowingly. The jury’s verdict thus establishes that Atilla acted knowingly.

       148.    Balkan met with an IRGC general to help put the scheme in place, and described

himself as an “inside man” for the IRGC. He also penned an e-mail noting that the gold scheme

was moving tremendous sums of money in violation of Iranian sanctions. These facts show that



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Balkan, on behalf of Halkbank, acted knowingly at all times—and conspired directly with IRGC

officials to further the IRGC’s global agenda.

       149.    Ali Fuat Taskinoglu likewise understood that Halkbank’s conduct was illegal, as

he approved resumption of the scheme after Zarrab and his co-conspirators had been arrested by

Turkish authorities.

       150.    At all times, Aslan, Atilla, Balkan, and other Halkbank executives were acting

within the scope of their employment at Halkbank, and their knowledge of their actions,

including those actions’ illegality, is fairly imputed to Halkbank.

           B. The Illegal Activity Defendants Participated in Foreseeably Risked Terrorist
              Attacks on Americans

       151.    The terrorist attacks that injured Plaintiffs were natural and foreseeable

consequences of the massive sanctions-busting scheme Defendants perpetrated, and were acts in

furtherance of the conspiracy Defendants joined.

       152.    The immediate consequence of Defendants’ conduct is that NIOC’s revenues

from its oil sales in Türkiye, which U.S. anti-terrorism sanctions had previously frozen, were

exported from Türkiye to Dubai, where they could be changed into any currency and forwarded

on to make payments all over the world. The clear beneficiary of this scheme was any entity that

gained access to NIOC’s previously frozen revenues.

       153.    The public sources cited supra establish that this beneficiary was, in fact, the

IRGC. Congress publicly expressed that NIOC was an IRGC agent or affiliate, i.e., front, in

August 2012, and the Treasury Department verified that fact a month later. Other public sources

revealed even before that time that the IRGC was using Iran’s oil revenue to fund terrorists. The

2007 designation of the IRGC noted that the IRGC “has numerous economic interests involving

defense production, construction, and the oil industry,” and noted that IRGC company Khatam


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al-Anbiya had “secured deals worth at least $7 billion in the oil, gas, and transportation

sectors.” 112 The February 2010 designation of Khatam al-Anbiya and Rostam Ghasemi noted

that the profits from the IRGC’s control of the oil industry were “available to support the full

range of the IRGC’s illicit activities, including WMD proliferation and support for terrorism.” 113

On December 21, 2010, the Treasury Department noted that the IRGC was “a primary focus of

U.S. and international sanctions against Iran because of . . . its support for terrorism,” and that

the IRGC had “expanding influence and control over broader segments of the Iranian economy,”

including the “oil and gas industries.” 114 And on June 23, 2011, the Treasury Department

explained that the IRGC used its presence in Iran’s economic infrastructure “to generate revenue

and conduct business in support of Iran’s illicit activities,” and that “imposing financial sanctions

on commercial enterprises of the IRGC has a direct impact on revenues that could be used by the

IRGC to facilitate illicit conduct.” 115

          154.   These public sources established that the IRGC was using oil revenue to support

terrorism. But they weren’t even necessary because anybody with even a passing familiarity with

the IRGC would know that the IRGC was, by its very nature, not a peaceful industrial

organization, but instead a terrorist organization—and therefore would know that the IRGC’s

participation in Iran’s commercial sector and oil industry was a means to obtain resources to

support acts of terrorism.

          155.   It was also known at the time that the IRGC’s support for terrorism specifically

included aiding al-Qaeda and the Taliban in their attacks against American and Coalition forces


112
      Fact Sheet, supra n.9.
113
      Press Release, supra n.21.
114
      Fact Sheet, supra n.23.
115
      Fact Sheet, supra n.59.

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in Afghanistan by providing money, training, weapons, and safe haven to terrorists engaged in

such attacks. Thus, as of 2007, the IRGC-QF had specifically been designated as an SDGT under

Executive Order 13224 because it was supporting terrorist groups including the Taliban in

Afghanistan. 116 In January 2008, the Treasury Department explained that the Qods Force “is the

regime’s primary mechanism for cultivating and supporting terrorists and Islamic militants to

advance Iranian national interests,” and that it does so by providing “training, weapons, and

financial support to surrogate groups and terrorist organizations” including “the Taliban and

Islamic militants in Afghanistan.” 117

          156.   It was equally foreseeable that aiding the IRGC would support other terrorist

organizations, including al-Qaeda and its branches in Syria and Iraq. Thus, according to the U.S.

State Department’s 2008 Country Reports on Terrorism: “The Qods Force, an elite branch of the

Islamic Revolutionary Guard Corps (IRGC), is the regime’s primary mechanism for cultivating

and supporting terrorists abroad. The Qods Force provided aid in the form of weapons, training,

and funding to HAMAS and other Palestinian terrorist groups, Lebanese Hizballah, Iraq-based

militants, and Taliban fighters in Afghanistan.” 118 Multiple terrorism experts had published

articles confirming this fact.

          157.   The nature of the laws Defendants violated also made terrorism a foreseeable

consequence of those violations. As Professor Jimmy Gurulé explained in his 2010 book,

“[s]ince the September 11, 2001 terror attacks, one of the U.S. Government’s top goals in the

Global War on Terror has been to deprive the terrorists of funding and dismantle their financial


116
      See Fact Sheet, supra n.9.
117
      Press Release, supra n.95.
118
   U.S. Dep’t of State, Country Reports on Terrorism 2008 (Apr. 30, 2009), https://2009-
2017.state.gov/j/ct/rls/crt/2008/122436.htm.

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networks. To accomplish these objectives, the Administration has emphasized criminal

enforcement actions and freezing the assets of suspected terrorists and their financial

supporters.” 119 The sanctions preventing Iran and the IRGC from accessing its oil revenues in

Türkiye were part of this effort to curb terrorist finance.

       158.    Defendants violated U.S. sanctions directly targeting the IRGC and IRGC-QF,

which were specifically designed to curb the IRGC’s support for terrorism against Americans. It

is axiomatic that terrorism against Americans is a natural and foreseeable consequence of

violating a law designed to stop terrorism against Americans. To conclude otherwise requires

accepting that the law does not have any rational relationship to its stated purpose.

       159.    It is similarly axiomatic that agreeing to launder money for organizations like the

IRGC and the IRGC-QF, in order to help those organizations pursue their global foreign policy

agenda—which included regular acts of terrorism targeting the United States in order to coerce

the U.S. government in Washington, D.C. to change policy and withdraw from the Middle

East—is a conspiracy with clear linkages to terrorist attacks on Americans. The attacks were

accordingly acts in furtherance of the conspiracy Defendants joined.

III.   DEFENDANTS KNOWINGLY AND SUBSTANTIALLY ASSISTED TERRORIST
       ATTACKS

       160.    Defendants’ support was “knowing” because it was not provided innocently,

inadvertently, or accidentally—and because Defendants knew that by providing the assistance

they provided, they assisted the violent activities of the IRGC’s terrorist proxies. As alleged

supra, Defendants intentionally commenced, pursued, refined, and concealed a scheme to

launder NIOC’s oil revenues, knowing that they were laundering money that would flow to the


119
   Jimmy Gurulé, Unfunding Terror: The Legal Response to the Financing of Global Terrorism
324 (2010).

                                                  60
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IRGC, and through to the IRGC’s terrorist proxies. Defendants thus knew what they were doing,

and knew who they were doing it for.

       161.    In evaluating whether Defendants’ support was “substantial,” courts consider six

factors, including the nature of the act assisted, the amount and type of assistance provided, the

defendant’s presence at the time of the tort, the defendant’s relationship to the tortfeasor, the

defendant’s state of mind, and the duration of the assistance. The purpose of the six-factor

inquiry is to determine whether the defendant’s participation was conscious and culpable. These

factors collectively weigh in favor of finding that Defendants’ support was substantial.

       162.    Nature of the Act Assisted. Defendants assisted terrorist finance, and therefore

terrorist attacks. Terrorist attacks against Americans, who are generally well-protected, require

planning and resources to commit. Defendants’ support enabled the terrorists to access both. As

alleged supra, the IRGC supplied al-Qaeda, the Taliban, al-Qaeda-in-Iraq, and al-Nusra Front,

among others, with resources including money, weapons, technology, training, and safe haven.

These resources were intended to facilitate, and did facilitate, the planning and commission of

terrorist attacks on Americans. And Defendants knew that by providing access to capital to the

IRGC, they were facilitating such attacks.

       163.    Type and Amount of Support. For the same reasons, the amount and type of

assistance provided were substantial. Giving the IRGC access to cash that it could move freely

was critical to the IRGC’s ability to provide resources to violent terrorists. Banks like Halkbank

knew this because it is a cornerstone of sound banking practices, as promulgated by

organizations like the Financial Action Task Force (FATF), as well as the U.S. Treasury

Department, that countering terrorist finance is critical to preventing terrorist violence. Indeed,

that proposition is the fundamental premise of most sanctions on the IRGC and its fronts



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(including NIOC). By helping the IRGC evade these sanctions, Defendants provided an

especially culpable form of assistance with a clear nexus to terrorist violence.

       164.    The amounts at issue were also significant, approaching $20 billion over a four-

year period—and potentially as much as $100 billion, see supra ¶ 103. Even if only a small

fraction of that value flowed through to terrorists, it was more than enough to fund each and

every terrorist attack at issue in this case hundreds of times over because Al-Qaeda and its

proxies, including the Taliban, were especially efficient at deploying the IRGC’s resources. For

example, one Department of Defense study determined that a contribution of about $2,700 to

al-Qaeda’s branch in Iraq was enough to finance one additional effective attack. 120 Similarly,

al-Qaeda boasted that it could conduct a sophisticated transnational bombing attack targeting

Americans in the Middle East for less than $5,000.

       165.    Indeed, $20 billion was more than enough to finance every IRGC-enabled attack

anywhere in the world that resulted in the death, serious physical injury, or hostage taking of an

American worldwide from 2012 through 2020. Whether one applies the Pentagon’s cost estimate

(about $2,700 per attack) or that of al-Qaeda (about $5,000 per attack), Defendants’ aid was

equal to that need to fund well more than one million attacks.

       166.    In addition to providing access to funds, Defendants provided the IRGC with the

means to move its money covertly, without detection. Secrecy is essential to terrorist enterprises,

and Defendants provided it.




120
   See Benjamin Bahney et al., An Economic Analysis of the Financial Records of al-Qa’ida in
Iraq, at 61-67 (2010), https://www.rand.org/pubs/monographs/MG1026.html. Although this
study addressed AQI specifically, its findings are substantially applicable to the activities of al-
Qaeda’s branch in Syria (ANF) and affiliates in Afghanistan (the Taliban, including its Haqqani
Network), which copied al-Qaeda’s techniques and (in the case of ANF) inherited its resources.

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       167.    The timing of the assistance was also important. In 2012, when Defendants’

violations began, Iran’s economy was reeling because the sanctions against it were working. The

IRGC, which depended on revenue from Iran’s commercial sector, including its oil industry,

acutely needed covert ways to evade sanctions and access its funds. Defendants thus provided

critical support at a vital moment for the IRGC’s global terror campaign.

       168.    These facts, individually and together, establish that Defendants provided a type

and amount of assistance that establishes they behaved culpably vis-à-vis terrorist violence.

       169.    Presence. Although Defendants were not present at the actual terrorist attacks,

their ability to move funds to Dubai was important to facilitating attacks. Public sources have

long confirmed that the U.A.E. served as a logistical, financial, and operational hub for the

IRGC’s terrorist campaign. For example, as explained in Reuters, “[a]s the U.S. and EU

sanctions on Iran’s oil and finance sectors in 2012 started to bite, the [IRGC] responded by

setting up complex operations involving the likes of Dubai …. ‘The IRGC started to buy

hundreds of … companies around the [U.A.E.] to use as front companies,’ said a trader involved

in … the oil industry. ‘These companies partnered with some foreign companies to bypass

sanctions. Most of the time cash was delivered to a foreign account in a neighbouring

country.’” 121 Defendants were willing participants in that terrorist finance operation.

       170.    Similarly, George W. Bush explained in a widely reported 2008 speech to U.A.E.

government and business leaders that illicit transactions in the U.A.E. were important to the

IRGC’s ability to provide “support for Islamist groups and militants in Afghanistan, Iraq,



121
    Parisa Hafezi, Iran’s elite Guards to gain regional, economic power in post-sanctions era,
Reuters (Jan. 19, 2016), https://www.reuters.com/article/us-iran-sanctions-guards-insight/irans-
elite-guards-to-gain-regional-economic-power-in-post-sanctions-era-idUSKCN0UX2M3
(emphasis added).

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Lebanon and the Palestinian territories.” 122 Press reports concerning President Bush’s speech

emphasized the U.S. government’s efforts “to enforce US sanctions against … the Quds Force of

the IRGC” because “Dubai in particular ha[d] become a financial centre handling substantial

Iranian investments which the administration want[ed] to restrict.” 123 Thus, Defendants did not

merely provide support from afar; they allowed the IRGC to access a key geography by

delivering resources there, and providing the infrastructure to move those resources on to conflict

zones where they could be used to finance attacks against Americans.

            171.   Relationship. The allegations here and the evidence in the criminal case show

that Defendants worked directly with important officials who were central to the IRGC’s terrorist

enterprise, including Rostam Ghasemi and IRGC-QF officials. Defendants’ relationship with the

IRGC was accordingly direct, and their relationship with the IRGC’s terrorist proxies was

mediated only by the IRGC itself.

            172.   The relationship was not a garden-variety, arms’ length commercial relationship,

but instead in the nature of a criminal agreement to help the IRGC obtain billions of dollars in

frozen funds so that it could deploy those funds to achieve its objectives. Thus, the relationship

had a culpable character.

            173.   On the other hand, neither the IRGC nor its terrorist proxies had the sort of special

relationship with Defendants that would provide those terrorists with undue influence or sway

over Defendants’ decisions, and thus mitigate Defendants’ culpability.

            174.   State of Mind. As alleged supra, Defendants’ state of mind was culpable. Zarrab

professed a desire to engage in “economic jihad” and help Iran thwart U.S. sanctions. He then


122
   APS Diplomat, Bush Says Iran Poses Threat To Global Security (Jan. 14, 2008), 2008 WLNR
25283869.
123
      Id.

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designed and implemented, with Halkbank’s assistance, multiple massive terrorist finance

schemes that were plainly criminal. He subsequently pleaded guilty to criminal violations arising

from this conduct.

       175.    Halkbank also acted with a culpable state of mind. Halkbank executive Balkan

told an IRGC-QF general that he was an “inside man” willing to help the IRGC move money.

Halkbank executive Atilla has been convicted of the conduct described herein. And other

Halkbank executives willfully participated and are now fugitives for their roles in this massive

terrorist finance scheme.

       176.    Zarrab and Halkbank also knowingly engaged in a prolonged campaign of

deception that included lying to regulators, falsifying documents, and even fabricating fake

humanitarian food shipments to conceal their ongoing support for the IRGC. They did so with

full knowledge that they were laundering oil revenue for an IRGC front in violation of anti-

terrorism sanctions. And they did so even after receiving specific warnings from the U.S.

Treasury Department and being arrested by Turkish authorities. Defendants’ state of mind was

accordingly highly culpable.

       177.    As alleged supra, Defendants knew that the beneficiaries of their illegal conduct

would be the IRGC and its terrorist proxies. The IRGC’s ongoing role in anti-American terrorist

violence was sufficiently well established that Defendants knew that by helping the IRGC access

such massive amounts of capital, they were helping terrorists attack Americans.

       178.    Duration of Assistance. Defendants’ assistance lasted approximately four years,

from early 2012 until March 2016. But Defendants did not end the scheme voluntarily; instead,

they only stopped because Zarrab and then Atilla were arrested by U.S. authorities. Left to their




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own devices, Defendants would have continued providing support to terrorists in perpetuity. This

shows that Defendants acted culpably and intentionally.

        179.    The amount of money Defendants laundered for the IRGC was sufficient to fund

terrorist attacks for many years after the last transaction took place. Attacks like the ones at issue

here cost thousands of dollars—not millions—to perpetrate. By helping the IRGC move billions

of dollars, Defendants facilitated terrorism for many years after the authorities stopped their

scheme.

        180.    Collectively, these factors show that Defendants’ assistance was substantial vis-à-

vis both the terrorist attacks that injured Plaintiffs and the global IRGC terrorist conspiracy.

Defendants’ culpable, pervasive, and systemic assistance renders them liable for every attack at

issue in this case.

IV.     PLAINTIFFS’ CLAIMS ARE TIMELY

        181.    The ATA provides that suits for damages must be brought “within 10 years after

the date the cause of action accrued.” 18 U.S.C. § 2335. This statute of limitations applies to all

ATA claims, including claims for aiding and abetting under JASTA. JASTA, however, was not

enacted until September 28, 2016. Accordingly, Plaintiffs’ claims could not have accrued before

that date, and Plaintiffs’ claims are all timely because they are being brought within 10 years

after September 28, 2016, the date they accrued.

        182.    If the Court concludes that Plaintiffs’ causes of action accrued earlier (e.g., on the

date of the terrorist attacks that injured them), and to the extent tolling is required for any

particular Plaintiff’s claim, Plaintiffs are entitled to tolling because Defendants fraudulently

concealed their misconduct, and no plaintiff exercising reasonable diligence could have

discovered that misconduct prior to March 31, 2016, when Reza Zarrab and his co-conspirators

were indicted in the United States.
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        183.    Defendants’ misconduct, which involved fraud, money laundering, and deceiving

the U.S. Treasury Department and U.S. financial institutions, was inherently self-concealing.

Indeed, the entire point of the misconduct was to move money inside of Halkbank in ways that

were undetectable, before smuggling it out in the form of untraceable gold bars. None of the

transactions were visible to third parties, let alone to individuals in Plaintiffs’ position.

        184.    Defendants went to extreme lengths to conceal their wrongdoing. In addition to

using a web of front companies to conceal the origin of the NIOC revenue (including Royal

Group and its affiliates, supra ¶ 84), Defendants and their agents falsified documents describing

the purpose and beneficiaries of gold transactions and the existence of humanitarian food trades

(supra ¶¶ 87-88, 94, 99), lied to high-ranking officials in the U.S. Treasury Department about

their compliance (supra ¶¶ 92, 100), paid bribes to Turkish authorities to look the other way

(supra ¶ 86), paid bribes to escape Turkish criminal proceedings against them and to suppress the

evidence of their wrongdoing (supra ¶ 96), and issued high-profile false denials of wrongdoing

to avoid public scrutiny (supra ¶ 97).

        185.    Ultimately, Defendants’ misconduct was only discovered because—as revealed at

Atilla’s criminal trial—a Turkish police officer, Huseyin Korkmaz, acting on his own initiative

and at tremendous risk to himself, retrieved incriminating evidence about the scheme from the

Turkish prosecutor’s office after Zarrab’s bribes had sabotaged the case, smuggled the evidence

out of the country against the wishes of the Turkish political establishment, and delivered it to

authorities in the United States, which combined that evidence with the fruits of the U.S.

government’s own confidential investigation to produce the indictment of Reza Zarrab in March

2016.




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       186.    Accordingly, to the extent the statute of limitations began running before March

31, 2016, it must be tolled prior to that date because no plaintiff exercising diligence could have

uncovered Defendants’ support for terrorists prior to that date.

V.     THE IRGC’S TERRORIST PROXIES COMMITTED, PLANNED, AND
       AUTHORIZED THE ATTACKS THAT KILLED AND INJURED PLAINTIFFS
       IN AFGHANISTAN

       187.    Plaintiffs are American civilians, servicemembers, and contractors serving in

Afghanistan, and their family members, who were killed or injured in terrorist attacks committed

by al-Qaeda (a designated FTO at the time) and the Taliban, including its Haqqani Network (a

designated FTO as of September 19, 2022), collaborating in a terrorist syndicate that was funded,

armed, and logistically supported by the IRGC, including the IRGC-QF.

       188.    For those Plaintiffs with family members who were injured or died as a result,

each Plaintiff has experienced severe mental anguish, emotional pain and suffering, and the loss

of their family member’s society, companionship, and counsel.

       189.    The IRGC used its resources to provide al-Qaeda and the Taliban (including its

Haqqani Network) weapons, funds, training, logistical support, communications technology, safe

haven, and assistance with narcotics trafficking, which raised money for their shared terrorist

enterprise against America. Al-Qaeda and the Taliban, including its Haqqani Network, used

these resources to commit the attacks that injured Plaintiffs.

       190.    For attacks that occurred in Afghanistan, each suicide attack alleged below was

committed by al-Qaeda (an FTO) and the Taliban acting together in a joint al-Qaeda-Taliban cell

with al-Qaeda providing, indoctrinating, and training the bomber, who was deployed by the

Taliban. The suicide bomber who detonated the bomb during each suicide attack alleged below

was: (i) indoctrinated by al-Qaeda regarding the purported religious justification for the attack;

(ii) trained by al-Qaeda regarding al-Qaeda’s tactics, techniques, and procedures for suicide
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bombers; (iii) deployed by al-Qaeda to Afghanistan in order to attack Americans there; and (iv) a

member of al-Qaeda under al-Qaeda training procedures for suicide attackers, which required the

bomber to pledge loyalty to al-Qaeda.

        191.    For attacks that occurred in Afghanistan, each device that the suicide bomber

detonated, and each bomb detonated during an IED attack, during each attack alleged below was:

(i) based on a signature al-Qaeda design; (ii) assembled and tested by al-Qaeda bombmakers at

one of al-Qaeda’s bombmaking sites managed and funded by al-Qaeda/Taliban terrorist

Sirajuddin Haqqani; (iii) designed to detonate precursor ingredients that were “cooked” by al-

Qaeda chemists; and (iv) provided to the joint cell by al-Qaeda operatives in order to facilitate

the joint cell’s attack.

        192.    Each attack alleged below would have violated the laws of war if these terrorists

were subject to them because, inter alia, the terrorists who committed the attack neither wore

uniforms nor otherwise identified themselves as enemy combatants, and each IED’s passive

detonation system and each suicide bomb attack indiscriminately placed civilians at risk.

            A. February 10, 2014 Suicide Attack in Kabul (Michael Hughes and Paul Goins
               Jr. Families)

        193.    On February 10, 2014, a joint cell comprised of an FTO, al-Qaeda, and the Taliban,

acting together as the Kabul Attack Network, committed a suicide attack in Kabul Province,

Afghanistan (the “February 10, 2014 Attack”), which was facilitated by the IRGC’s provision of

funding, personnel, weapons and logistical aid to al-Qaeda and the Taliban. Al-Qaeda planned and

authorized the February 10, 2014 Attack.

        194.    The February 10, 2014 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack




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neither wore uniforms nor otherwise identified themselves as enemy combatants, and the attack

indiscriminately placed civilians at risk.

       195.    Mr. Michael Hughes worked in Afghanistan as a civilian government contractor

working for DynCorp, Int’l. Mr. Hughes was injured in the February 10, 2014 Attack. Mr. Hughes

died on February 10, 2014 as a result of injuries sustained during the February 10, 2014 Attack.

       196.    Mr. Hughes was a U.S. national at the time of the attack and his death.

       197.    Plaintiff Daniel Hughes is the brother of Mr. Hughes and a U.S. national.

       198.    Plaintiff Kristine Zitny is the sister of Mr. Hughes and a U.S. national.

       199.    Plaintiff Kathleen Alexander is the sister of Mr. Hughes and a U.S. national. She

brings claims in both her personal capacity and her representative capacity on behalf of Mr.

Hughes’s estate.

       200.    Plaintiff Patricia Hughes is the sister of Mr. Hughes and a U.S. national.

       201.    As a result of the February 10, 2014 Attack and Mr. Hughes’s injuries and death,

each member of the Hughes Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of Mr. Hughes’s society, companionship, and counsel.

       202.    As a result of the February 10, 2014 Attack, Mr. Hughes was injured in his person

and/or property. The Plaintiff members of the Hughes Family are the survivors and/or heirs of

Mr. Hughes and are entitled to recover for the damages Mr. Hughes sustained.

       203.    Paul E. Goins Jr. worked in Afghanistan as a civilian government contractor

working for DynCorp, Int’l. Mr. Goins was injured in the February 10, 2014 Attack. Mr. Goins

died on February 10, 2014 as a result of injuries sustained during the February 10, 2014 Attack.

       204.    Mr. Goins was a U.S. national at the time of the attack and his death.

       205.    Plaintiff Patricia Goins is the widow of Mr. Goins and a U.S. national.



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       206.    Plaintiff Paul Goins III is the son of Mr. Goins and a U.S. national.

       207.    Plaintiff Janice Caruso is the stepdaughter of Mr. Goins and a U.S. national. Ms.

Caruso lived in the same household as Mr. Goins for a substantial period and considered Mr.

Goins the functional equivalent of a biological father.

       208.    Plaintiff Dana Rainey is the stepdaughter of Mr. Goins and a U.S. national. She

brings claims in both her personal capacity and her representative capacity on behalf of Mr.

Goins’s estate. Ms. Rainey lived in the same household as Mr. Goins for a substantial period and

considered Mr. Goins the functional equivalent of a biological father.

       209.    Plaintiff Emmitt Burns is the stepson of Mr. Goins and a U.S. national. Mr. Burns

lived in the same household as Mr. Goins for a substantial period and considered Mr. Goins the

functional equivalent of a biological father.

       210.    As a result of the February 10, 2014 Attack and Mr. Goins’s injuries and death,

each member of the Goins Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of Mr. Goins’s society, companionship, and counsel.

       211.    As a result of the February 10, 2014 Attack, Mr. Goins was injured in his person

and/or property. The Plaintiff members of the Goins Family are the survivors and/or heirs of Mr.

Goins and are entitled to recover for the damages Mr. Goins sustained.

           B. February 22, 2013 IED Attack in Helmand (Jonathan Davis Family)

       212.    On February 22, 2013, the Taliban committed an IED attack in Helmand Province,

Afghanistan (the “February 22, 2013 Attack”), which was facilitated by the IRGC’s provision of

funding, weapons, training, and logistical support to al-Qaeda and the Taliban. Al-Qaeda planned

and authorized the February 22, 2013 Attack.

       213.    The February 22, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack
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neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

detonation system indiscriminately placed civilians at risk.

       214.    Staff Sergeant Jonathan Davis served in Afghanistan as a member of the U.S.

Marine Corps. SSgt Davis was injured in the February 22, 2013 Attack. SSgt Davis died on

February 22, 2013 as a result of injuries sustained during the February 22, 2013 Attack.

       215.    SSgt Davis was a U.S. national at the time of the attack and his death.

       216.    Plaintiff Helena Davis is the widow of SSgt Davis and a U.S. national.

       217.    Plaintiff C.D., by and through his next friend Helena Davis, is the minor son of

SSgt Davis. He is a U.S. national.

       218.    As a result of the February 22, 2013 attack and SSgt Davis’s injuries and death,

each member of the Davis Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SSgt Davis’s society, companionship, and counsel.

       219.    As a result of the February 22, 2013 Attack, SSgt Davis was injured in his person

and/or property. The Plaintiff members of the Davis Family are the survivors and/or heirs of

SSgt Davis and are entitled to recover for the damages SSgt Davis sustained.

           C. April 6, 2013 Suicide Attack in Zabul (Anne Smedinghoff Family)

       220.    On April 6, 2013, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed a suicide bombing attack in Zabul Province, Afghanistan (the “April 6, 2013 Attack”),

which was facilitated by the IRGC’s provision of funding, weapons, training, and logistical aid to

al-Qaeda and the Taliban. Al-Qaeda planned and authorized the April 6, 2013 Attack.

       221.    The April 6, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the attack

indiscriminately placed civilians at risk.
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          222.   Anne Smedinghoff served in Afghanistan as a U.S. Foreign Service Officer

working for the U.S. Department of State. Ms. Smedinghoff was injured in the April 6, 2013

Attack. Ms. Smedinghoff died on April 6, 2013 as a result of injuries sustained during the April 6,

2013 Attack. She was just 25 years old when she died.

          223.   Ms. Smedinghoff did not die immediately following the April 6, 2013 Attack.

Though grievously injured, she was awake and alert while being air-transported to a nearby

medical clinic. Upon her arrival, Ms. Smedinghoff’s blood pressure dropped significantly due to

severe internal bleeding, and she required significant blood transfusions. Her condition continued

to deteriorate, and she eventually succumbed to her severe injuries roughly two hours after the

attack.

          224.   Ms. Smedinghoff was a U.S. national at the time of the attack and her death.

          225.   Plaintiff Mary Smedinghoff is the mother of Ms. Smedinghoff and a U.S.

national.

          226.   Plaintiff Thomas Smedinghoff is the father of Ms. Smedinghoff and a U.S.

national. He brings claims in both his personal capacity and his representative capacity on behalf

of Ms. Smedinghoff’s estate.

          227.   Plaintiff Regina Smedinghoff is the sister of Ms. Smedinghoff and a U.S.

national.

          228.   Plaintiff Joan Smedinghoff is the sister of Ms. Smedinghoff and a U.S. national.

          229.   Plaintiff Mark Smedinghoff is the brother of Ms. Smedinghoff and a U.S.

national.




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       230.     As a result of the April 6, 2013 Attack and Ms. Smedinghoff’s injuries and death,

each member of the Smedinghoff Family has experienced severe mental anguish, emotional pain

and suffering, and the loss of Ms. Smedinghoff’s society, companionship, and counsel.

       231.     As a result of the April 6, 2013 Attack, Ms. Smedinghoff was injured in her

person and/or property. The Plaintiff members of the Smedinghoff Family are the survivors

and/or heirs of Ms. Smedinghoff and are entitled to recover for the damages Ms. Smedinghoff

sustained.

             D. May 4, 2013 IED Attack in Kandahar (Brandon Landrum, Brandon
                Prescott, Francis Phillips IV, Kevin Cardoza, and Thomas Murach Families)

       232.     On May 4, 2013, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed an IED attack in Kandahar Province, Afghanistan (the “May 4, 2013 Attack”), which

was facilitated by the IRGC’s provision of funding, weapons, training, and logistical support to al-

Qaeda and the Taliban. Al-Qaeda planned and authorized the May 4, 2013 Attack.

       233.     The May 4, 2013 Attack would have violated the laws of war if these terrorists were

subject to them because, among other reasons, the terrorist(s) who committed the attack neither

wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

detonation system indiscriminately placed civilians at risk.

       234.     First Lieutenant Brandon Landrum served in Afghanistan as a member of the

U.S. Army. 1LT Landrum was injured in the May 4, 2013 Attack. 1LT Landrum died on May 4,

2013 as a result of injuries sustained during the May 4, 2013 Attack. He was just 26 years old

when he died.

       235.     1LT Landrum was a U.S. national at the time of the attack and his death.




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       236.    Plaintiff Miranda Landrum is the widow of 1LT Landrum and a U.S. national.

She brings claims in both her personal capacity and her representative capacity on behalf of 1LT

Landrum’s estate.

       237.    Plaintiff G.L., by and through his next friend Miranda Landrum, is the minor son

of 1LT Landrum. He is a U.S. national.

       238.    Plaintiff B.L., by and through her next friend Miranda Landrum, is the minor

daughter of 1LT Landrum. She is a U.S. national.

       239.    Plaintiff Janet Landrum is the mother of 1LT Landrum and a U.S. national.

       240.    Plaintiff James Landrum is the father of 1LT Landrum and a U.S. national.

       241.    As a result of the May 4, 2013 Attack and 1LT Landrum’s injuries and death,

each member of the Landrum Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of 1LT Landrum’s society, companionship, and counsel.

       242.    As a result of the May 4, 2013 Attack, 1LT Landrum was injured in his person

and/or property. The Plaintiff members of the Landrum Family are the survivors and/or heirs of

1LT Landrum and are entitled to recover for the damages 1LT Landrum sustained.

       243.    Specialist Brandon Prescott served in Afghanistan as a member of the U.S. Army.

SPC Prescott was injured in the May 4, 2013 Attack. SPC Prescott died on May 4, 2013 as a result

of injuries sustained during the May 4, 2013 Attack. He was just 24 years old when he died.

       244.    SPC Prescott was a U.S. national at the time of the attack and his death.

       245.    Plaintiff Tracey Prescott is the mother of SPC Prescott and a Canadian citizen

residing in California.

       246.    Plaintiff Joseph Prescott is the father of SPC Prescott and a U.S. national.

       247.    Plaintiff Jacob Prescott is the brother of SPC Prescott and a U.S. national.



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        248.    Plaintiff Aaron Prescott is the brother of SPC Prescott and a U.S. national. He

brings claims in both his personal capacity and his representative capacity on behalf of SPC

Prescott’s estate.

        249.    Plaintiff Joshua Prescott is the brother of SPC Prescott and a U.S. national.

        250.    As a result of the May 4, 2013 Attack and SPC Prescott’s injuries and death, each

member of the Prescott Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Prescott’s society, companionship, and counsel.

        251.    As a result of the May 4, 2013 Attack, SPC Prescott was injured in his person

and/or property. The Plaintiff members of the Prescott Family are the survivors and/or heirs of

SPC Prescott and are entitled to recover for the damages SPC Prescott sustained.

        252.    Staff Sergeant Francis Phillips IV served in Afghanistan as a member of the U.S.

Army. SSG Phillips was injured in the May 4, 2013 Attack. SSG Phillips died on May 4, 2013 as

a result of injuries sustained during the May 4, 2013 Attack. He was just 28 years old when he

died.

        253.    SSG Phillips was a U.S. national at the time of the attack and his death.

        254.    Plaintiff Christine Phillips is the widow of SSG Phillips and a U.S. national. She

brings claims in both her personal capacity and her representative capacity on behalf of SSG

Phillips’s estate.

        255.    Plaintiff S.P., by and through her next friend Christine Phillips, is the minor

daughter of SSG Phillips. She is a U.S. national.

        256.    As a result of the May 4, 2013 Attack and SSG Phillips’s injuries and death, each

member of the Phillips Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SSG Phillips’s society, companionship, and counsel.



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       257.    As a result of the May 4, 2013 Attack, SSG Phillips was injured in his person

and/or property. The Plaintiff members of the Phillips Family are the survivors and/or heirs of

SSG Phillips and are entitled to recover for the damages SSG Phillips sustained.

       258.    Specialist Kevin Cardoza served in Afghanistan as a member of the U.S. Army.

SPC Cardoza was injured in the May 4, 2013 Attack. SPC Cardoza died on May 4, 2013 as a result

of injuries sustained during the May 4, 2013 Attack. He was just 19 years old when he died.

       259.    SPC Cardoza was a U.S. national at the time of the attack and his death.

       260.    Plaintiff Maria Cardoza is the mother of SPC Cardoza and a U.S. national.

       261.    Plaintiff Ramiro Cardoza Sr. is the father of SPC Cardoza and a U.S. national.

       262.    Plaintiff Ramiro Cardoza Jr. is the brother of SPC Cardoza and a U.S. national.

He brings claims in both his personal capacity and his representative capacity on behalf of SPC

Cardoza’s estate.

       263.    As a result of the May 4, 2013 Attack and SPC Cardoza’s injuries and death, each

member of the Cardoza Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Cardoza’s society, companionship, and counsel.

       264.    As a result of the May 4, 2013 Attack, SPC Cardoza was injured in his person

and/or property. The Plaintiff members of the Cardoza Family are the survivors and/or heirs of

SPC Cardoza and are entitled to recover for the damages SPC Cardoza sustained.

       265.    Specialist Thomas Murach served in Afghanistan as a member of the U.S. Army.

SPC Murach was injured in the May 4, 2013 Attack. SPC Murach died on May 4, 2013 as a result

of injuries sustained during the May 4, 2013 Attack. He was just 22 years old when he died.

       266.    SPC Murach was a U.S. national at the time of the attack and his death.




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          267.   Plaintiff Chet Murach is the father of SPC Murach and a U.S. national. He brings

claims in both his personal capacity and his representative capacity on behalf of SPC Murach’s

estate.

          268.   Plaintiff William Murach is the brother of SPC Murach and a U.S. national.

          269.   As a result of the May 4, 2013 Attack and SPC Murach’s injuries and death, each

member of the Murach Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Murach’s society, companionship, and counsel.

          270.   As a result of the May 4, 2013 Attack, SPC Murach was injured in his person

and/or property. The Plaintiff members of the Murach Family are the survivors and/or heirs of

SPC Murach and are entitled to recover for the damages SPC Murach sustained.

             E. May 14, 2013 IED Attack in Kandahar (Mitchell Daehling, William Gilbert
                Families)

          271.   On May 14, 2013, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed an IED attack in Kandahar Province, Afghanistan (the “May 14, 2013 Attack”), which

was facilitated by the IRGC’s provision of funding, weapons, training, and logistical support to al-

Qaeda and the Taliban. Al-Qaeda planned and authorized the May 14, 2013 Attack.

          272.   The May 14, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

detonation system indiscriminately placed civilians at risk.

          273.   Specialist Mitchell Daehling served in Afghanistan as a member of the U.S. Army.

SPC Daehling was injured in the May 14, 2013 Attack. SPC Daehling died on May 14, 2013 as a

result of injuries sustained during the May 14, 2013 Attack. He was just 24 years old when he died.




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       274.    SPC Daehling did not die immediately following the initial May 14, 2013 IED

explosion. The first IED detonated and severely wounded SPC Daehling, including severing both

of his legs—one at the knee and the other mid-shin. While attempting to MEDEVAC SPC

Daehling and the other wounded servicemembers, the detonation of a second IED killed SPC

Daehling.

       275.    SPC Daehling was a U.S. national at the time of the attack and his death.

       276.    Plaintiff Samantha McNamara is the widow of SPC Daehling and a U.S. national.

       277.    Plaintiff Brenda Daehling is the mother of SPC Daehling and a U.S. national.

       278.    Plaintiff Kirk Daehling is the father of SPC Daehling and a U.S. national. He

brings claims in both his personal capacity and his representative capacity on behalf of SPC

Daehling’s estate.

       279.    Plaintiff Adam Daehling is the brother of SPC Daehling and a U.S. national.

       280.    Plaintiff Kayla Daehling is the sister of SPC Daehling and a U.S. national.

       281.    As a result of the May 14, 2013 Attack and SPC Daehling’s injuries and death,

each member of the Daehling Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Daehling’s society, companionship, and counsel.

       282.    As a result of the May 14, 2013 Attack, SPC Daehling was injured in his person

and/or property. The Plaintiff members of the Daehling Family are the survivors and/or heirs of

SPC Daehling and are entitled to recover for the damages SPC Daehling sustained.

       283.    Specialist William Gilbert served in Afghanistan as a member of the U.S. Army.

SPC Gilbert was injured in the May 14, 2013 Attack. SPC Gilbert died on May 14, 2013 as a result

of injuries sustained during the May 14, 2013 Attack. He was just 24 years old when he died.

       284.    SPC Gilbert was a U.S. national at the time of the attack and his death.



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        285.    Plaintiff Joanna Gilbert is the mother of SPC Gilbert and a U.S. national. She

brings claims in both her personal capacity and her representative capacity on behalf of SPC

Gilbert’s estate.

        286.    Plaintiff Jessica Benson is the sister of SPC Gilbert and a U.S. national.

        287.    As a result of the May 14, 2013 Attack and SPC Gilbert’s injuries and death, each

member of the Gilbert Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Gilbert’s society, companionship, and counsel.

        288.    As a result of the May 14, 2013 Attack, SPC Gilbert was injured in his person

and/or property. The Plaintiff members of the Gilbert Family are the survivors and/or heirs of

SPC Gilbert and are entitled to recover for the damages SPC Gilbert sustained.

            F. May 16, 2013 Suicide Attack in Kabul (Angel Roldan Jr. Family)

        289.    On May 16, 2013, a joint cell comprised of an FTO, al-Qaeda, and the Taliban,

acting together as the Kabul Attack Network, committed a suicide bombing attack in Kabul,

Afghanistan (the “May 16, 2013 Attack”), which was facilitated by the IRGC’s provision of

funding, weapons, training, and logistical aid to al-Qaeda and the Taliban. Al-Qaeda planned and

authorized the May 16, 2013 Attack.

        290.    The May 16, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the attack

indiscriminately placed civilians at risk.

        291.    Angel Roldan Jr. worked in Afghanistan as a civilian government contractor

working for DynCorp, Int’l. Mr. Roldan was injured in the May 16, 2013 Attack. Mr. Roldan died

on May 16, 2013 at the age of 62 as a result of injuries sustained during the May 16, 2013 Attack.

        292.    Mr. Roldan was a U.S. national at the time of the attack and his death.
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       293.    Plaintiff Lieselotte Roldan is the widow of Mr. Roldan and a U.S. national.

       294.    Plaintiff Matthias Roldan is the son of Mr. Roldan and a U.S. national.

       295.    Plaintiff Angel R. Roldan is the son of Mr. Roldan and a U.S. national.

       296.    Plaintiff Samantha Roldan is the daughter of Mr. Roldan and a U.S. national.

       297.    Plaintiff Chapman Good brings a claim in his representative capacity only on

behalf of Mr. Roldan’s estate.

       298.    As a result of the May 16, 2013 Attack and Mr. Roldan’s injuries and death, each

member of the Roldan Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of Mr. Roldan’s society, companionship, and counsel.

       299.    As a result of the May 16, 2013 Attack, Mr. Roldan was injured in his person

and/or property. The Plaintiff members of the Roldan Family are the survivors and/or heirs of

Mr. Roldan and are entitled to recover for the damages Mr. Roldan sustained.

           G. June 2, 2013 IED Attack in Nimruz (Sean Mullen Family)

       300.    On June 2, 2013, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed an IED attack in Nimruz Province, Afghanistan (the “June 2, 2013 Attack”), which was

facilitated by the IRGC’s provision of funding, weapons, training, and logistical support to al-

Qaeda and the Taliban. Al-Qaeda planned and authorized the June 2, 2013 Attack.

       301.    The June 2, 2013 Attack would have violated the laws of war if these terrorists were

subject to them because, among other reasons, the terrorist(s) who committed the attack neither

wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

detonation system indiscriminately placed civilians at risk.

       302.    Warrant Officer Sean Mullen served in Afghanistan as a member of the U.S.

Army. WO1 Mullen was injured in the June 2, 2013 Attack. WO1 Mullen died on June 2, 2013 as



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a result of injuries sustained during the June 2, 2013 Attack. He was just 39 years old when he

died.

        303.   WO1 Mullen was a U.S. national at the time of the attack and his death.

        304.   Plaintiff Nancy Mullen is the widow of WO1 Mullen and a U.S. national. She

brings claims in both her personal capacity and her representative capacity on behalf of WO1

Mullen’s estate.

        305.   Plaintiff Miriam Mullen is the mother of WO1 Mullen and a U.S. national.

        306.   Plaintiff William Mullen is the father of WO1 Mullen and a U.S. national.

        307.   As a result of the June 2, 2013 Attack and WO1 Mullen’s injuries and death, each

member of the Mullen Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of WO1 Mullen’s society, companionship, and counsel.

        308.   As a result of the June 2, 2013 Attack, WO1 Mullen was injured in his person

and/or property. The Plaintiff members of the Mullen Family are the survivors and/or heirs of

WO1 Mullen and are entitled to recover for the damages WO1 Mullen sustained.

           H. June 18, 2013 Rocket Attack in Parwan (Robert Ellis Family)

        309.   On June 18, 2013, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed a rocket attack in Parwan, Afghanistan (the “June 18, 2013 Attack”), which was

facilitated by the IRGC’s provision of funding, weapons, training, and logistical support to al-

Qaeda and the Taliban. Al-Qaeda planned and authorized the June 18, 2013 Attack.

        310.   The June 18, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants.




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       311.    Specialist Robert Ellis served in Afghanistan as a member of the U.S. Army. SPC

Ellis was injured in the June 18, 2013 Attack. SPC Ellis died on June 18, 2013 as a result of injuries

sustained during the June 18, 2013 Attack.

       312.    SPC Ellis was a U.S. national at the time of the attack and his death.

       313.    Plaintiff Joelle Ellis is the mother of SPC Ellis and a U.S. national.

       314.    Plaintiff John Ellis is the father of SPC Ellis and a U.S. national.

       315.    Plaintiff James Ellis is the brother of SPC Ellis and a U.S. national.

       316.    As a result of the June 18, 2013 Attack and SPC Ellis’s injuries and death, each

member of the Ellis Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Ellis’s society, companionship, and counsel.

       317.    As a result of the June 18, 2013 Attack, SPC Ellis was injured in his person and/or

property. The Plaintiff members of the Ellis Family are the survivors and/or heirs of SPC Ellis

and are entitled to recover for the damages SPC Ellis sustained.

           I. June 23, 2013 IED Attack in Paktika (Brandon Korona)

       318.    On June 23, 2013, a joint cell comprised of an FTO, al-Qaeda, and an FTO, the

Haqqani Network, a part of the Taliban, committed an IED attack in Paktika Province, Afghanistan

(the “June 23, 2013 Attack”), which was facilitated by the IRGC’s provision of funding, weapons,

training, and logistical support to al-Qaeda and the Taliban. Al-Qaeda planned and authorized the

June 23, 2013 Attack.

       319.    The June 23, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

detonation system indiscriminately placed civilians at risk.



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       320.     Sergeant Brandon Korona served in Afghanistan as a member of the U.S. Army.

SGT Korona was injured in the June 23, 2013 Attack. The attack severely wounded SGT Korona,

who suffered from significant injuries to his left leg requiring a below knee amputation in 2017, a

fractured right ankle, and a traumatic brain injury. As a result of the June 23, 2013 Attack and his

injuries, SGT Korona has experienced severe physical and emotional pain and suffering.

       321.     Plaintiff SGT Korona was a U.S. national at the time of the attack and remains

one today.

       322.     As a result of the June 23, 2013 Attack and SGT Korona’s injuries, SGT Korona

has experienced severe mental anguish, emotional pain and suffering.

             J. July 15, 2013 Recoilless Rifle Attack in Paktia (Sonny Zimmerman Family)

       323.     On July 15, 2013, a joint cell comprised of an FTO, al-Qaeda, and an FTO, the

Haqqani Network, a part of the Taliban, committed an attack involving a recoilless rifle in Paktia,

Afghanistan (the “July 15, 2013 Attack”), which was facilitated by the IRGC’s provision of

funding, weapons, training, and logistical support to al-Qaeda and the Taliban. Al-Qaeda planned

and authorized the July 15, 2013 Attack.

       324.     The July 15, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants.

       325.     Staff Sergeant Sonny Zimmerman served in Afghanistan as a member of the U.S.

Army. SSG Zimmerman was injured in the July 15, 2013 Attack. SSG Zimmerman died on July

16, 2013 as a result of injuries sustained during the July 15, 2013 Attack.

       326.     SSG Zimmerman was a U.S. national at the time of the attack and his death.

       327.     Plaintiff Michelle Zimmerman is the mother of SSG Zimmerman and a U.S.

national.
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       328.     Plaintiff Chris Zimmerman is the father of SSG Zimmerman and a U.S. national.

       329.     Plaintiff Baily Zimmerman is the sister of SSG Zimmerman and a U.S. national.

       330.     As a result of the July 15, 2013 Attack and SSG Zimmerman’s injuries and death,

each member of the Zimmerman Family has experienced severe mental anguish, emotional pain

and suffering, and the loss of SSG Zimmerman’s society, companionship, and counsel.

       331.     As a result of the July 15, 2013 Attack, SSG Zimmerman was injured in his

person and/or property. The Plaintiff members of the Zimmerman Family are the survivors

and/or heirs of SSG Zimmerman and are entitled to recover for the damages SSG Zimmerman

sustained.

             K. July 23, 2013 IED Attack in Wardak (Nickolas S. Welch and Rob L. Nichols
                Families)

       332.     On July 23, 2013, a joint cell comprised of an FTO, al-Qaeda, and an FTO, the

Haqqani Network, a part of the Taliban, committed an IED attack in Wardak Province,

Afghanistan (the “July 23, 2013 Attack”), which was facilitated by the IRGC’s provision of

funding, weapons, training, and logistical support to al-Qaeda and the Taliban. Al-Qaeda planned

and authorized the July 23, 2013 Attack.

       333.     The July 23, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

detonation system indiscriminately placed civilians at risk.

       334.     Specialist Nickolas Welch served in Afghanistan as a member of the U.S. Army.

SPC Welch was injured in the July 23, 2013 Attack. SPC Welch died on August 6, 2013 as a result

of injuries sustained during the July 23, 2013 Attack. He was just 26 years old when he died.




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          335.   Though SPC Welch was awake in the immediate aftermath of the July 23, 2013

Attack, he sustained severe injuries from the detonation, including multiple contusions from ball

bearings that were added to the IED to ensure maximum damage. SPC Welch also suffered a

traumatic brain injury in the attack, which required the surgical placement of two shunts in his

brain. Notwithstanding the medical care he received, SPC Welch succumbed to his injuries

approximately two weeks after the attack, on August 6, 2013.

          336.   SPC Welch was a U.S. national at the time of the attack and his death.

          337.   Plaintiff Lorria Welch is the mother of SPC Welch and a U.S national.

          338.   Plaintiff Barry Welch is the father of SPC Welch and a U.S national. He brings

claims in both his personal capacity and his representative capacity on behalf of SPC Welch’s

estate.

          339.   Plaintiff Zackary Welch is the brother of SPC Welch and a U.S national.

          340.   As a result of the July 23, 2013 Attack and SPC Welch’s injuries and death, each

member of the Welch Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Welch’s society, companionship, and counsel.

          341.   As a result of the July 23, 2013 Attack, SPC Welch was injured in his person

and/or property. The Plaintiff members of the Welch Family are the survivors and/or heirs of

SPC Welch and are entitled to recover for the damages SPC Welch sustained.

          342.   Specialist Rob Nichols served in Afghanistan as a member of the U.S. Army. SPC

Nichols was injured in the July 23, 2013 Attack. SPC Nichols died on July 23, 2013 as a result of

injuries sustained during the July 23, 2013 Attack. He was just 24 years old when he died.

          343.   SPC Nichols was a U.S. national at the time of the attack and his death.




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       344.    Plaintiff Bruce Nichols is the father of SPC Nichols and a U.S. national. He

brings claims in both his personal capacity and his representative capacity on behalf of SPC

Nichols’s estate.

       345.    Plaintiff Jeanne Nichols is the stepmother of SPC Nichols and a U.S. national.

Ms. Nichols lived in the same household as SPC Nichols for a substantial period and considered

SPC Nichols the functional equivalent of a biological son.

       346.    Plaintiff Molly Nichols is the sister of SPC Nichols. She is a U.S. national.

       347.    As a result of the July 23, 2013 Attack and SPC Nichols’s injuries and death, each

member of the Nichols Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Nichols’s society, companionship, and counsel.

       348.    As a result of the July 23, 2013 Attack, SPC Nichols was injured in his person

and/or property. The Plaintiff members of the Nichols Family are the survivors and/or heirs of

SPC Nichols and are entitled to recover for the damages SPC Nichols sustained.

           L. July 30, 2013 Indirect Fire Attack in Logar (Nicholas Burley Family)

       349.    On July 30, 2013, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed an indirect fire attack in Logar, Afghanistan (the “July 30, 2013 Attack”), which was

facilitated by the IRGC’s provision of funding, weapons, training, and logistical support to al-

Qaeda and the Taliban. Al-Qaeda planned and authorized the July 30, 2013 Attack.

       350.    The July 30, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants.

       351.    Specialist Nicholas Burley served in Afghanistan as a member of the U.S. Army.

SPC Burley was injured in the July 30, 2013 Attack. SPC Burley died on July 30, 2013 as a result

of injuries sustained during the July 30, 2013 Attack.
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       352.    SPC Burley was a U.S. national at the time of the attack and his death.

       353.    Plaintiff Tammy Olmstead is the mother of SPC Burley and a U.S. national.

       354.    Plaintiff William M. Burley is the father of SPC Burley and a U.S. national.

       355.    Plaintiff Dan Olmstead is the stepfather of SPC Burley and a U.S. national. Mr.

Olmstead lived in the same household as SPC Burley for a substantial period and considered SPC

Burley the functional equivalent of a biological son.

       356.    Plaintiff Michael Collins is the brother of SPC Burley and a U.S. national.

       357.    As a result of the July 30, 2013 Attack and SPC Burley’s injuries and death, each

member of the Burley Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Burley’s society, companionship, and counsel.

       358.    As a result of the July 30, 2013 Attack, SPC Burley was injured in his person

and/or property. The Plaintiff members of the Burley Family are the survivors and/or heirs of

SPC Burley and are entitled to recover for the damages SPC Burley sustained.

           M. August 12, 2013 IED Attack in Logar (James Wickliff Chacin Family)

       359.    On August 12, 2013, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed an IED attack in Logar Province, Afghanistan (the “August 12, 2013 Attack”), which

was facilitated by the IRGC’s provision of funding, weapons, training, and logistical support to al-

Qaeda and the Taliban. Al-Qaeda planned and authorized the August 12, 2013 Attack.

       360.    The August 12, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

detonation system indiscriminately placed civilians at risk.

       361.    Specialist James Wickliff Chacin served in Afghanistan as a member of the U.S.

Army. SPC Wickliff Chacin was injured in the August 12, 2013 Attack. SPC Wickliff Chacin died
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on September 20, 2013 as a result of injuries sustained during the August 12, 2013 Attack. He was

just 22 years old when he died.

       362.    SPC Wickliff Chacin sustained severe injuries in the August 12, 2013 Attack,

including fractures in his right tibia and fibula, his left femur, and his pelvis, second degree burns,

and significant soft tissue damage to both legs. In addition, the IED blast propelled SPC Wickliff

Chacin’s body into a nearby canal that was contaminated with fungus, which caused him to

develop a rare fungal infection that complicated his medical treatment and eventually caused his

death. Notwithstanding the severe injuries he sustained, SPC Wickliff Chacin was awake and alert

in the immediate aftermath of the attack while being air-transported to a nearby hospital at Bagram

Airfield. After having most of the lower half of his body amputated in an effort to try to stop the

spread of the life-threatening fungal infection he sustained during the August 12, 2013 Attack,

SPC Wickliff Chacin eventually succumbed to his injuries 39 days later, on September 20, 2013

       363.    SPC Wickliff Chacin was a U.S. national at the time of the attack and his death.

       364.    Plaintiff Martha Smith is the mother of SPC Wickliff Chacin and a U.S. national.

She brings claims in both her personal capacity and her representative capacity on behalf of SPC

Wickliff Chacin’s estate.

       365.    Plaintiff Thomas Wickliff is the father of SPC Wickliff Chacin and a U.S.

national.

       366.    Plaintiff Michelle Rotelli is the sister of SPC Wickliff Chacin and a U.S. national.

       367.    As a result of the August 12, 2013 Attack and SPC Wickliff Chacin’s injuries and

death, each Wickliff Chacin Family member has experienced severe mental anguish, emotional

pain and suffering, and the loss of SPC Wickliff Chacin’s society, companionship, and counsel.




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       368.    As a result of the August 12, 2013 Attack, SPC Wickliff Chacin was injured in his

person and/or property. The Plaintiff members of the Wickliff Chacin Family are the survivors

and/or heirs of SPC Wickliff Chacin and are entitled to recover for the damages SPC Wickliff

Chacin sustained.

           N. August 20, 2013 Small Arms Attack in Wardak (George Bannar Jr. Family)

       369.    On August 20, 2013, a joint cell comprised of al-Qaeda, an FTO, and the Haqqani

Network, a part of the Taliban and an FTO, committed a small arms attack in Wardak Province,

Afghanistan (the “August 20, 2013 Attack”), which was facilitated by the IRGC’s provision of

funding, weapons, training, and logistical support to al-Qaeda and the Taliban. Al-Qaeda planned

and authorized the August 20, 2013 Attack.

       370.    The August 20, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants.

       371.    Master Sergeant George Bannar Jr. served in Afghanistan as a member of the

U.S. Army. MSG Bannar was injured in the August 20, 2013 Attack. MSG Bannar died on August

20, 2013 as a result of injuries sustained during the August 20, 2013 Attack.

       372.    MSG Bannar was a U.S. national at the time of the attack and his death.

       373.    Plaintiff Sheila Long is the mother of MSG Bannar and a U.S. national.

       374.    As a result of the August 20, 2013 Attack and MSG Bannar’s injuries and death,

each member of the Bannar Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of MSG Bannar’s society, companionship, and counsel.

       375.    As a result of the August 20, 2013 Attack, MSG Bannar was injured in his person

and/or property. The Plaintiff members of the Bannar Family are the survivors and/or heirs of

MSG Bannar and are entitled to recover for the damages MSG Bannar sustained.
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             O. October 5, 2013 IED Attack in Kandahar (Cody Patterson and Joseph Peters
                Families)

       376.     On October 5, 2013, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed an IED attack in Kandahar Province, Afghanistan (the “October 5, 2013 Attack”),

which was facilitated by the IRGC’s provision of funding, weapons, training, and logistical support

to al-Qaeda and the Taliban. Al-Qaeda planned and authorized the October 5, 2013 Attack.

       377.     The October 5, 2013 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

detonation system indiscriminately placed civilians at risk.

       378.     Specialist Cody Patterson served in Afghanistan as a member of the U.S. Army.

SPC Patterson was injured in the October 5, 2013 Attack. SPC Patterson died on October 5, 2013

as a result of injuries sustained during the October 5, 2013 Attack. He was just 24 years old when

he died.

       379.     SPC Patterson was a U.S. national at the time of the attack and his death.

       380.     Plaintiff Nancy Wilson is the mother of SPC Patterson and a U.S. national. She

brings claims in both her personal capacity and her representative capacity on behalf of SPC

Patterson’s estate.

       381.     Plaintiff Kapriel Wilson brother of SPC Patterson and a U.S. national.

       382.     Plaintiff Mara Wilson sister of SPC Patterson and a U.S. national.

       383.     As a result of the October 5, 2013 Attack and SPC Patterson’s injuries and death,

each member of the Patterson Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Patterson’s society, companionship, and counsel.




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        384.       As a result of the October 5, 2013 Attack, SPC Patterson was injured in his person

and/or property. The Plaintiff members of the Patterson Family are the survivors and/or heirs of

SPC Patterson and are entitled to recover for the damages SPC Patterson sustained.

        385.       Sergeant Joseph Peters served in Afghanistan as a member of the U.S. Army.

SGT Peters was injured in the October 5, 2013 Attack. SGT Peters died on October 5, 2013 as a

result of injuries sustained during the October 5, 2013 Attack. He was just 24 years old when he

died.

        386.       SGT Peters was a U.S. national at the time of the attack and his death.

        387.       Plaintiff Ashley Gerding is the widow of SGT Peters and a U.S. national. She

brings claims in both her personal capacity and her representative capacity on behalf of SGT

Peters’s estate.

        388.       Plaintiff G.P., by and through his next friend Ashley Peters, is the minor son of

SGT Peters. He is a U.S. national.

        389.       Plaintiff Deborah Peters is the mother of SGT Peters and a U.S. national.

        390.       Plaintiff Dennis Peters is the father of SGT Peters and a U.S. national.

        391.       As a result of the October 5, 2013 Attack and SGT Peters’s injuries and death,

each member of the Peters Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SGT Peters’s society, companionship, and counsel.

        392.       As a result of the October 5, 2013 Attack, SGT Peters was injured in his person

and/or property. The Plaintiff members of the Peters Family are the survivors and/or heirs of

SGT Peters and are entitled to recover for the damages SGT Peters sustained.

            P. January 20, 2014 Small Arms Attack in Kandahar (Edward Balli)

        393.       On January 20, 2014, a joint cell comprised of al-Qaeda, an FTO, and the Taliban

committed a small arms attack in Kandahar Province, Afghanistan (the “January 20, 2014
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Attack”), which was facilitated by the IRGC’ provision of funding, personnel, training, and

logistical support to al-Qaeda and the Taliban. Al-Qaeda planned and authorized the January 20,

2014 Attack.

       394.    The January 20, 2014 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants.

       395.    Chief Warrant Officer 2 Edward Balli served in Afghanistan as a member of the

U.S. Army. CW2 Balli was injured in the January 20, 2014 Attack. CW2 Balli died on January 20,

2014 as a result of injuries sustained during the January 20, 2014 Attack.

       396.    CW2 Balli was a U.S. national at the time of the attack and his death.

       397.    Plaintiff Michael Donios is the son of CW2 Balli and a U.S. national.

       398.    As a result of the January 20, 2014 Attack and CW2 Balli’s injuries and death,

each member of the Balli Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of CW2 Balli’s society, companionship, and counsel.

       399.    As a result of the January 20, 2014 Attack, CW2 Balli was injured in his person

and/or property. The Plaintiff members of the Balli Family are the survivors and/or heirs of CW2

Balli and are entitled to recover for the damages CW2 Balli sustained.

           Q. February 15, 2014 Complex Attack In Helmand Province (Aaron Torian
              Family)

       400.    On February 15, 2014, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed a complex attack involving an IED and small arms fire in Helmand Province,

Afghanistan (the “February 15, 2014 Attack”), which was facilitated by the IRGC’s provision of

funding, weapons, training, and logistical support to al-Qaeda and the Taliban. Al-Qaeda planned

and authorized the February 15, 2014 Attack.


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       401.    The February 15, 2014 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the IED’s

passive detonation system indiscriminately placed civilians at risk.

       402.    Master Sergeant Aaron Torian served in Afghanistan as a member of the U.S.

Marine Corps. MSgt Torian was injured in the February 15, 2014 Attack. MSgt Torian died on

February 15, 2014 as a result of his injuries from the February 15, 2014 Attack.

       403.    MSgt Torian was a U.S. national at the time of the attack and his death.

       404.    Plaintiff Esta Smith is the mother of MSgt Torian and a U.S. national.

       405.    Plaintiff Joe Torian is the father of MSgt Torian and a U.S. national.

       406.    Plaintiff Nathan Torian is the brother of MSgt Torian and a U.S. national. He

brings claims in both his personal capacity and his representative capacity on behalf of MSgt

Torian’s estate.

       407.    Plaintiff Emily Torian is the sister of MSgt Torian and a U.S. national.

       408.    Plaintiff Jimmy Smith is the stepfather of MSgt Torian and a U.S. national. Mr.

Smith lived in the same household as MSgt Torian for a substantial period and considered MSgt

Torian the functional equivalent of a biological son.

       409.    As a result of the February 15, 2014 Attack and MSgt Torian’s injuries and death,

each member of the Torian Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of MSgt Torian’s society, companionship, and counsel.

       410.    As a result of the February 15, 2014 Attack, MSgt Torian was injured in his

person and/or property. The Plaintiff members of the Torian Family are the survivors and/or

heirs of MSgt Torian and are entitled to recover for the damages MSgt Torian sustained.



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           R. June 2, 2014 Small Arms Fire Attack in Nangarhar (Jason Jones Family)

       411.    On June 2, 2014, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed a small arms fire attack in Nangarhar, Afghanistan (the “June 2, 2014 Attack”), which

was facilitated by the IRGC’s provision of funding, weapons, training, and logistical support to al-

Qaeda and the Taliban. Al-Qaeda planned and authorized the June 2, 2014 Attack.

       412.    The June 2, 2014 Attack would have violated the laws of war if these terrorists were

subject to them because, among other reasons, the terrorist(s) who committed the attack neither

wore uniforms nor otherwise identified themselves as enemy combatants.

       413.    Captain Jason Jones served in Afghanistan as a member of the U.S. Army. CPT

Jones was injured in the June 2, 2014 Attack. CPT Jones died on June 2, 2014 as a result of injuries

sustained during the June 2, 2014 Attack.

       414.    CPT Jones was a U.S. national at the time of the attack and his death.

       415.    Plaintiff Joseph Jones Jr. is the father of CPT Jones and a U.S. national.

       416.    As a result of the June 2, 2014 Attack and CPT Jones’s injuries and death, each

member of the Jones Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of CPT Jones’s society, companionship, and counsel.

       417.    As a result of the June 2, 2014 Attack, CPT Jones was injured in his person and/or

property. The Plaintiff members of the Jones Family are the survivors and/or heirs of CPT Jones

and are entitled to recover for the damages CPT Jones sustained.

           S. August 12, 2014 IED Attack in Kandahar (Alberto Diaz Family)

       418.    On August 12, 2014, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed an IED attack in Kandahar Province, Afghanistan (the “August 12, 2014 Attack”),

which was facilitated by the IRGC’s provision of funding, weapons, training, and logistical support

to al-Qaeda and the Taliban. Al-Qaeda planned and authorized the August 12, 2014 Attack.

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         419.   The August 12, 2014 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

detonation system indiscriminately placed civilians at risk.

         420.   Specialist Alberto Diaz served in Afghanistan as a member of the U.S. Army. SPC

Diaz was injured in the August 12, 2014 Attack. The attack severely wounded SPC Diaz, who

suffered severe brain injuries and facial damage requiring complete right side facial reconstruction,

and also suffers from PTSD, chronic fatigue syndrome, chronic pain, social anxiety, panic attacks,

hearing loss, and tremors. As a result of the August 12, 2014 Attack and his injuries, SPC Diaz

has experienced severe physical and emotional pain and suffering.

         421.   Plaintiff SPC Diaz was a U.S. national at the time of the attack, and remains one

today.

         422.   Plaintiff Kayla Diaz is the wife of SPC Diaz and a U.S. national.

         423.   Plaintiff N.J.A.D., by and through his next friend Kayla Diaz, is the minor son of

SPC Diaz. He is a U.S. national.

         424.   Plaintiff N.J.D., by and through her next friend Kayla Diaz, is the minor daughter

of SPC Diaz. She is a U.S. national.

         425.   Plaintiff Frances Diaz is the mother of SPC Diaz and a U.S. national.

         426.   Plaintiff Maximo Diaz is the father of SPC Diaz and a U.S. national.

         427.   Plaintiff Anthony Diaz is the brother of SPC Diaz and a U.S. national.

         428.   Plaintiff Matthew Diaz is the brother of SPC Diaz and a U.S. national.

         429.   As a result of the August 12, 2014 Attack and SPC Diaz’s injuries, each member

of the Diaz Family has experienced severe mental anguish, emotional pain and suffering.



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             T. November 24, 2014 IED Attack in Kabul (Joseph Riley Family)

          430.   On November 24, 2014, a joint cell comprised of an FTO, al-Qaeda, and the

Taliban, acting together as the Kabul Attack Network, committed a vehicle-borne IED attack in

Kabul Province, Afghanistan (the “November 24, 2014 Attack”), which was facilitated by the

IRGC’s provision of funding, weapons, training, and logistical aid to al-Qaeda and the Taliban.

Al-Qaeda planned and authorized the November 24, 2014 Attack.

          431.   The November 24, 2014 Attack would have violated the laws of war if these

terrorists were subject to them because, among other reasons, the terrorist(s) who committed the

attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

passive detonation system indiscriminately placed civilians at risk.

          432.   Specialist Joseph Riley served in Afghanistan as a member of the U.S. Army. SPC

Riley was injured in the November 24, 2014 Attack. SPC Riley died on November 24, 2014 as a

result of injuries sustained during the November 24, 2014 Attack.

          433.   SPC Riley was a U.S. national at the time of the attack and his death.

          434.   Plaintiff Michelle Riley is the mother of SPC Riley and a U.S. national.

          435.   Plaintiff Rodney Riley is the father of SPC Riley and a U.S. national. He brings

claims in both his personal capacity and his representative capacity on behalf of SPC Riley’s

estate.

          436.   As a result of the November 24, 2014 Attack and SPC Riley’s injuries and death,

each member of the Riley Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Riley’s society, companionship, and counsel.

          437.   As a result of the November 24, 2014 Attack, SPC Riley was injured in his person

and/or property. The Plaintiff members of the Riley Family are the survivors and/or heirs of SPC

Riley and are entitled to recover for the damages SPC Riley sustained.
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             U. December 12, 2014 IED Attack in Parwan (Wyatt Martin Family)

          438.   On December 12, 2014, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed a command wire-detonated IED attack in Parwan Province, Afghanistan (the

“December 12, 2014 Attack”), which was facilitated by the IRGC’s provision of funding, weapons,

training, and logistical support to al-Qaeda and the Taliban. Al-Qaeda planned and authorized the

December 12, 2014 Attack.

          439.   The December 12, 2014 Attack would have violated the laws of war if these

terrorists were subject to them because, among other reasons, the terrorist(s) who committed the

attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

passive detonation system indiscriminately placed civilians at risk.

          440.   Specialist Wyatt Martin served in Afghanistan as a member of the U.S. Army.

SPC Martin was injured in the December 12, 2014 Attack. SPC Martin died on December 12, 2014

as a result of injuries sustained during the December 12, 2014 Attack.

          441.   SPC Martin was a U.S. national at the time of the attack and his death.

          442.   Plaintiff Julie Martin is the mother of SPC Martin and a U.S. national.

          443.   Plaintiff Brian Martin is the father of SPC Martin and a U.S. national. He brings

claims in both his personal capacity and his representative capacity on behalf of SPC Martin’s

estate.

          444.   Plaintiff Catherine Martin is the sister of SPC Martin and a U.S. national.

          445.   Plaintiff Elizabeth Martin is the sister of SPC Martin and a U.S. national.

          446.   As a result of the December 12, 2014 Attack and SPC Martin’s injuries and death,

each member of the Martin Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of SPC Martin’s society, companionship, and counsel.



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       447.    As a result of the December 12, 2014 Attack, SPC Martin was injured in his

person and/or property. The Plaintiff members of the Martin Family are the survivors and/or

heirs of SPC Martin and are entitled to recover for the damages SPC Martin sustained.

           V. August 22, 2015 Suicide Attack in Kabul (Corey Dodge, Richard McEvoy,
              and Barry Sutton Families)

       448.    On August 22, 2015, a joint cell comprised of an FTO, al-Qaeda, and the Taliban,

acting together as the Kabul Attack Network, committed a suicide bombing attack in Kabul

Province, Afghanistan (the “August 22, 2015 Attack”), which was facilitated by the IRGC’s

provision of funding, weapons, training, and logistical aid to al-Qaeda and the Taliban. Al-Qaeda

planned and authorized the August 22, 2015 Attack.

       449.    The August 22, 2015 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the attack

indiscriminately placed civilians at risk.

       450.    Corey Dodge worked in Afghanistan as a civilian government contractor working

for DynCorp Free Zone. Mr. Dodge was injured in the August 22, 2015 Attack. Mr. Dodge died

on August 22, 2015 as a result of injuries sustained during the August 22, 2015 Attack.

       451.    Mr. Dodge was a U.S. national at the time of the attack and his death.

       452.    Plaintiff Kelli-Jo Dodge is the widow of Mr. Dodge and a U.S. national. She

brings claims in both her personal capacity and her representative capacity on behalf of Mr.

Dodge’s estate.

       453.    Plaintiff B.D., by and through his next friend Kelli-Jo Dodge, is the minor son of

Mr. Dodge. He is a U.S. national.




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       454.    Plaintiff P.D., by and through her next friend Kelli-Jo Dodge, is the minor

daughter of Mr. Dodge. She is a U.S. national.

       455.    As a result of the August 22, 2015 Attack and Mr. Dodge’s injuries and death,

each member of the Dodge Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of Mr. Dodge’s society, companionship, and counsel.

       456.    As a result of the August 22, 2015 Attack, Mr. Dodge was injured in his person

and/or property. The Plaintiff members of the Dodge Family are the survivors and/or heirs of Mr.

Dodge and are entitled to recover for the damages Mr. Dodge sustained.

       457.    Richard McEvoy worked in Afghanistan as a civilian government contractor

working for DynCorp, Int’l. Mr. McEvoy was injured in the August 22, 2015 Attack. Mr. McEvoy

died on August 22, 2015 as a result of injuries sustained during the August 22, 2015 Attack.

       458.    Mr. McEvoy was a U.S. national at the time of the attack and his death.

       459.    Plaintiff Kathleen McEvoy is the widow of Mr. McEvoy and a U.S. national. She

brings claims in both her personal capacity and her representative capacity on behalf of Mr.

McEvoy’s estate.

       460.    Plaintiff Patrick McEvoy is the son of Mr. McEvoy and a U.S. national.

       461.    Plaintiff Michelle McEvoy is the daughter of Mr. McEvoy and a U.S. national.

       462.    Plaintiff Janice Proctor is the mother of Mr. McEvoy and a U.S. national.

       463.    Plaintiff Luann Varney is the sister of Mr. McEvoy and a U.S. national.

       464.    As a result of the August 22, 2015 Attack and Mr. McEvoy’s injuries and death,

each member of the McEvoy Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of Mr. McEvoy’s society, companionship, and counsel.




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       465.    As a result of the August 22, 2015 Attack, Mr. McEvoy was injured in his person

and/or property. The Plaintiff members of the McEvoy Family are the survivors and/or heirs of

Mr. McEvoy and are entitled to recover for the damages Mr. McEvoy sustained.

       466.    Barry Sutton worked in Afghanistan as a civilian government contractor working

for DynCorp Free Zone. Mr. Sutton was injured in the August 22, 2015 Attack. Mr. Sutton died

on August 22, 2015 as a result of injuries sustained during the August 22, 2015 Attack.

       467.    Mr. Sutton was a U.S. national at the time of the attack and his death.

       468.    Plaintiff Summer Sutton is the daughter of Mr. Sutton and a U.S. national. She

brings claims in both her personal capacity and her representative capacity on behalf of Mr.

Sutton’s estate.

       469.    Plaintiff Erin Goss is the daughter of Mr. Sutton and a U.S. national.

       470.    Plaintiff Harriet Sutton is the mother of Mr. Sutton and a U.S. national.

       471.    Plaintiff Wendy Shedd is the sister of Mr. Sutton and a U.S. national.

       472.    Plaintiff Trecia Hood is the sister of Mr. Sutton and a U.S. national.

       473.    Plaintiff Freddie Sutton is the brother of Mr. Sutton and a U.S. national.

       474.    As a result of the August 22, 2015 Attack and Mr. Sutton’s injuries and death,

each member of the Sutton Family has experienced severe mental anguish, emotional pain and

suffering, and the loss of Mr. Sutton’s society, companionship, and counsel.

       475.    As a result of the August 22, 2015 Attack, Mr. Sutton was injured in his person

and/or property. The Plaintiff members of the Sutton Family are the survivors and/or heirs of Mr.

Sutton and are entitled to recover for the damages Mr. Sutton sustained.

           W. December 21, 2015 Suicide Attack in Parwan (Chester McBride III Family)

       476.    On December 21, 2015, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed a suicide bombing attack in Parwan Province, Afghanistan (the “December 21, 2015
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Attack”), which was facilitated by the IRGC’s provision of funding, weapons, training, and

logistical aid to al-Qaeda and the Taliban. Al-Qaeda planned and authorized the December 21,

2015 Attack.

       477.    The December 21, 2015 Attack would have violated the laws of war if these

terrorists were subject to them because, among other reasons, the terrorist(s) who committed the

attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

attack indiscriminately placed civilians at risk.

       478.    Staff Sergeant Chester McBride III served in Afghanistan as a member of the

U.S. Air Force. SSgt McBride was injured in the December 21, 2015 Attack. SSgt McBride died

on December 21, 2015 as a result of injuries sustained during the December 21, 2015 Attack.

       479.    SSgt McBride was a U.S. national at the time of the attack and his death.

       480.    Plaintiff Annie McBride is the mother of SSgt McBride and a U.S. national.

       481.    Plaintiff Chester McBride Sr. is the father of SSgt McBride and a U.S. national.

       482.    As a result of the December 21, 2015 Attack and SSgt McBride’s injuries and

death, each member of the McBride Family has experienced severe mental anguish, emotional

pain and suffering, and the loss of SSgt McBride’s society, companionship, and counsel.

       483.    As a result of the December 21, 2015 Attack, SSgt McBride was injured in his

person and/or property. The Plaintiff members of the McBride Family are the survivors and/or

heirs of SSgt McBride and are entitled to recover for the damages SSgt McBride sustained.

           X. January 5, 2016 Complex Attack in Helmand (Matthew McClintock Family)

       484.    On January 5, 2016, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed a complex attack involving small arms fire in Helmand Province, Afghanistan (the

“January 5, 2016 Attack”), which was facilitated by the IRGC’s provision of funding, weapons,



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training, and logistical support to al-Qaeda and the Taliban. Al-Qaeda planned and authorized the

January 5, 2016 Attack.

       485.    The January 5, 2016 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants.

       486.    Sergeant First Class Matthew McClintock served in Afghanistan as a member

of the U.S. Army National Guard. SFC McClintock was injured in the January 5, 2016 Attack.

SFC McClintock died on January 5, 2016 as a result of injuries sustained during the January 5,

2016 Attack.

       487.    SFC McClintock was a U.S. national at the time of the attack and his death.

       488.    Plaintiff Alexandra McClintock is the widow of SFC McClintock and a U.S.

national.

       489.    Plaintiff D.M., by and through his next friend Alexandra McClintock, is the minor

son of SFC McClintock. He is a U.S. national.

       490.    Plaintiff Joyce Paulsen is the mother of SFC McClintock and a U.S. national.

       491.    Plaintiff George McClintock III is the father of SFC McClintock and a U.S.

national.

       492.    As a result of the January 5, 2016 Attack and SFC McClintock’s injuries and

death, each member of the McClintock Family has experienced severe mental anguish, emotional

pain and suffering, and the loss of SFC McClintock’s society, companionship, and counsel.

       493.    As a result of the January 5, 2016 Attack, SFC McClintock was injured in his

person and/or property. The Plaintiff members of the McClintock Family are the survivors and/or

heirs of SFC McClintock and are entitled to recover for the damages SFC McClintock sustained.



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               Y. August 7, 2016 Kidnapping, Subsequent Hostage Taking, And Torture in
                  Kabul and Pakistan (Kevin King Family)

        494.      On August 7, 2016, a joint cell comprised of FTOs, al-Qaeda and the Haqqani

Network, acting together as the Kabul Attack Network, committed a kidnapping at gunpoint in

Kabul Province, Afghanistan (the “King Kidnapping Attack”), which was facilitated by the

IRGC’s provision of funding, weapons, training, and logistical support to al-Qaeda and the

Taliban. Al-Qaeda planned and authorized the King Kidnapping Attack.

        495.      The King Kidnapping Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the attack

indiscriminately placed civilians at risk.

        496.      Kevin King served in Afghanistan as a civilian professor teaching at American

University of Afghanistan. On August 7, 2016, Mr. King was injured in a kidnapping at gunpoint

attack in Kabul Province, and he was held hostage for years thereafter. The King Kidnapping

Attack severely wounded Mr. King, who was tortured, beaten, malnourished, and experienced a

broad range of life-altering ailments thereafter, which injuries were caused by the repeated torture

and beatings Mr. King sustained at the hands of Sirajuddin Haqqani’s personal terrorist henchmen

from the Haqqani Network. As a result of the King Kidnapping Attack and his injuries, Mr. King

has experienced severe physical and emotional pain and suffering.

        497.      Plaintiff King was a U.S. national at the time of the kidnapping and remains one

to this day.

        498.      Plaintiff Stephanie Miller is the sister of Mr. King and a U.S. national.

        499.      As a result of the King Kidnapping Attack and Mr. King’s injuries, each member

of the King Family has experienced severe mental anguish, emotional pain and suffering.


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           Z. July 3, 2017 Indirect Fire Attack in Helmand (Hansen Kirkpatrick Family)

       500.    On July 3, 2017, a joint cell comprised of an FTO, al-Qaeda, and the Taliban

committed an indirect fire attack in Helmand, Afghanistan (the “July 3, 2017 Attack”), which was

facilitated by the IRGC’s provision of funding, weapons, training, and logistical support to al-

Qaeda and the Taliban. Al-Qaeda planned and authorized the July 3, 2017 Attack.

       501.    The July 3, 2017 Attack would have violated the laws of war if these terrorists were

subject to them because, among other reasons, the terrorist(s) who committed the attack neither

wore uniforms nor otherwise identified themselves as enemy combatants.

       502.    Private First Class Hansen Kirkpatrick served in Afghanistan as a member of

the U.S. Army. PFC Kirkpatrick was injured in the July 3, 2017 Attack. PFC Kirkpatrick died on

July 3, 2017 as a result of injuries sustained during the July 3, 2017 Attack.

       503.    PFC Kirkpatrick was a U.S. national at the time of the attack and his death.

       504.    Plaintiff Anngel Norkist is the mother of PFC Kirkpatrick and a U.S. national.

       505.    Plaintiff William Newnham is the stepfather of PFC Kirkpatrick and a U.S.

national. Mr. Newnham lived in the same household as PFC Kirkpatrick for a substantial period

and considered PFC Kirkpatrick the functional equivalent of a biological son.

       506.    Plaintiff Hart Norkist is the brother of PFC Kirkpatrick and a U.S. national.

       507.    Plaintiff Aujza Norkist is the sister of PFC Kirkpatrick and a U.S. national.

       508.    As a result of the July 3, 2017 Attack and PFC Kirkpatrick’s injuries and death,

each member of the Kirkpatrick Family has experienced severe mental anguish, emotional pain

and suffering, and the loss of PFC Kirkpatrick’s society, companionship, and counsel.

       509.    As a result of the July 3, 2017 Attack, PFC Kirkpatrick was injured in his person

and/or property. The Plaintiff members of the Kirkpatrick Family are the survivors and/or heirs

of PFC Kirkpatrick and are entitled to recover for the damages PFC Kirkpatrick sustained.
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            AA.    January 14, 2019 Suicide Attack in Kabul (Manoharan Kamaleson
                   Family)

       510.    On January 14, 2019, a joint cell comprised of an FTO, al-Qaeda, and the Taliban,,

acting together as the Kabul Attack Network, committed a suicide bombing attack in Kabul,

Afghanistan (the “January 14, 2019 Attack”), which was facilitated by the IRGC’s provision of

funding, weapons, training, and logistical support to al-Qaeda and the Taliban. Al-Qaeda planned

and authorized the January 14, 2019 Attack.

       511.    The January 14, 2019 Attack would have violated the laws of war if these terrorists

were subject to them because, among other reasons, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants, and the attack

indiscriminately placed civilians at risk.

       512.    Mr. Manoharan P. Kamaleson worked in Afghanistan as a civilian chief

operating officer with First MicroFinance Bank. Mr. Kamaleson was injured in the January 14,

2019 Attack. Mr. Kamaleson died on January 14, 2019 as a result of injuries sustained during the

January 14, 2019 Attack.

       513.    Mr. Kamaleson was a U.S. national at the time of the attack and his death.

       514.    Plaintiff Nicole Kamaleson is the widow of Mr. Kamaleson and a U.S. national.

       515.    Plaintiff Cedric Kamaleson is the son of Mr. Kamaleson and a U.S. national.

       516.    Plaintiff Barclay Kamaleson is the son of Mr. Kamaleson and a U.S. national.

       517.    Plaintiff Cade Kamaleson is the son of Mr. Kamaleson and a U.S. national.

       518.    Plaintiff Sunderraj Kamaleson is the brother of Mr. Kamaleson and a U.S.

national.




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       519.    As a result of the January 14, 2019 Attack and Mr. Kamaleson’s injuries and

death, each member of the Kamaleson Family has experienced severe mental anguish, emotional

pain and suffering, and the loss of Mr. Kamaleson’s society, companionship, and counsel.

       520.    As a result of the January 14, 2019 Attack, Mr. Kamaleson was injured in his

person and/or property. The Plaintiff members of the Kamaleson Family are the survivors and/or

heirs of Mr. Kamaleson and are entitled to recover for the damages Mr. Kamaleson sustained.

VI.    THE IRGC’S TERRORIST PROXIES COMMITTED, PLANNED, AND
       AUTHORIZED THE ATTACK THAT INJURED PLAINTIFF MATTHEW
       SCHRIER IN SYRIA

       521.    The IRGC used its resources to provide al-Qaeda, al-Qaeda-in-Iraq, and al-Nusra

Front funds, operational support, logistical support, communications technology, and safe haven,

which raised money for their shared terrorist enterprise against America. Al-Qaeda, al-Qaeda-in-

Iraq, and al-Nusra Front, used these resources to commit the attacks that injured Plaintiff

Matthew Schrier.

       522.    Plaintiff Matthew Schrier was an American photojournalist who was injured in a

hostage-taking attack committed by al-Nusra Front that was funded, armed, and logistically

supported by the IRGC, the IRGC-QF.

       523.    On December 31, 2012, al-Nusra Front kidnapped Mr. Schrier in Aleppo, Syria.

ANF held Mr. Schrier hostage for 211 days, during which ANF tortured him, before he escaped

to his freedom on July 29, 2013. Al-Qaeda and al-Qaeda-in-Iraq planned and authorized ANF’s

attack against Mr. Schrier.

       524.    As part of its attack against Mr. Schrier, ANF terrorists used Mr. Schrier’s debt

card(s) to debit substantial amounts, nearly $20,000 (without considerations of interest), from

Mr. Schrier’s bank accounts inside the United States to buy equipment for ANF to support the



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group’s terrorist attacks, which injured Mr. Schrier by, inter alia, stealing his property, harming

his mental health and quality of life, and imposing substantial economic harm upon him.

       525.    Mr. Schrier’s kidnapping, subsequent confinement, and torture would have

violated the laws of war if these terrorists were subject to them because, among other reasons,

the terrorist(s) who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants, and the terrorists kidnapped and murdered an unarmed civilian

who was not engaged in hostilities.

       526.    Mr. Schrier was a U.S. national throughout the attack and remains one today.

       527.    As a result of his kidnapping and torture, Mr. Schrier has experienced severe

mental anguish, emotional pain and suffering, and was injured in his person and/or property.

                                      CLAIMS FOR RELIEF

COUNT ONE: AIDING AND ABETTING UNDER THE ANTI-TERRORISM ACT,
18 U.S.C. § 2333(d)(2)

       528.    Plaintiffs incorporate their factual allegations above.

       529.    To establish a claim for aiding and abetting under JASTA, 18 U.S.C. § 2333(d),

Plaintiffs must show: (1) that they are U.S. nationals, or the estates, survivors, or heirs of U.S.

nationals; (2) that they were injured by an act of “international terrorism,” as defined by 18

U.S.C. § 2331(1); (3) that the act of international terrorism was committed, planned, or

authorized by a designated FTO; (4) that Defendants were generally aware that they were

playing a role in an overall illegal or tortious activity from which the act of international

terrorism was a foreseeable consequence; and (5) that Defendants knowingly provided

substantial assistance.

       530.    Every Plaintiff is a U.S. national, or the estate, survivor, or heir of a U.S. national.




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       531.   The terrorist attacks that injured Plaintiffs were acts of “international terrorism”

because:

       (a) the attacks involved violent and dangerous acts that violate the criminal laws of the

           United States and many States (or would if committed in the United States). In

           particular, each attack constituted one or more of murder, attempted murder,

           conspiracy to murder, kidnapping, and arson, in violation of state law; and the

           destruction of U.S. property by fire or explosive, conspiracy to murder in a foreign

           country, killing and attempted killing of U.S. employees performing official duties,

           hostage taking, damaging U.S. government property, killing U.S. nationals abroad,

           use of weapons of mass destruction, commission of acts of terrorism transcending

           national boundaries, and bombing places of public use, in violation of 18 U.S.C.

           §§ 844(f )(2) or (3), 956(a)(1), 1114, 1203, 1361, 2332, 2332a, 2332b, and 2332f,

           respectively;

       (b) the attacks, carried out by terrorists bent on expelling the United States and its allies

           from Afghanistan and the Middle East, appear to have been intended (i) to intimidate

           or coerce the civilian populations of Afghanistan, the United States, and other

           Coalition nations, (ii) to influence the policy of the U.S., Afghan, and other Coalition

           governments by intimidation and coercion, and (iii) to affect the conduct of the U.S.,

           Afghan, and other Coalition governments by mass destruction, assassination, and

           kidnapping;

       (c) the attacks occurred primarily outside the territorial jurisdiction of the United States,

           in Afghanistan and Syria.




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        532.    Each attack was committed, planned, or authorized by one or more FTOs. Many

attacks were committed directly by the FTOs al-Qaeda, the Haqqani Network, al-Qaeda-in-Iraq,

and al-Nusra Front, as alleged supra.

        533.    Every attack, regardless of who committed it, was planned or authorized by

al-Qaeda, al-Qaeda-in-Iraq, and/or al-Nusra Front, each of which was always an FTO.

        534.    Defendants were generally aware that they were playing a role in illegal activity,

and that the terrorist attacks that injured Plaintiffs were a natural and foreseeable consequence of

that activity. See supra Part II.

        535.    Defendants provided assistance knowingly, and not innocently or inadvertently.

See supra ¶ 160. They did so with knowledge that they were aiding terrorist organizations

carrying out attacks on Americans. See supra Part II.B.

        536.    Defendants’ assistance was substantial. See supra Part III.

        537.    Defendants’ assistance was pervasive and systemic, involving the highest levels

of Halkbank’s management, years of willful misconduct, and tremendous sums of money that

provided critically important assistance to the IRGC and its terrorist proxies.

        538.    As a result of Defendants’ liability under 18 U.S.C. § 2333(d), Plaintiffs are

entitled to recover economic and non-economic damages, including solatium damages.

COUNT TWO: CONSPIRACY UNDER THE ANTI-TERRORISM ACT,
18 U.S.C. § 2333(d)(2)

        539.    The IRGC sits in the center of a global hub-and-spoke conspiracy, the object of

which is to advance the IRGC’s foreign policy agenda. That object includes inflicting casualties

on Americans to force the United States to withdraw from the Middle East.




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       540.    The IRGC’s terrorist proxies, including al-Qaeda, the Taliban (including its

Haqqani Network), al-Qaeda-in-Iraq, and al-Nusra Front, are members of this conspiracy that act

to pursue the IRGC’s goal of inflicting casualties on Americans.

       541.    Defendants agreed to join and support the IRGC’s worldwide campaign of anti-

American terrorism by agreeing to facilitate the IRGC’s access to NIOC’s oil revenues that were

blocked by U.S. anti-terrorism sanctions. By doing so, Defendants agreed to assist the IRGC in

obtaining resources to pursue its foreign policy goals.

       542.    Defendants knew that they were agreeing to assist the IRGC because they had

direct contact with IRGC officials when designing and executing their scheme. Defendants

expressly informed those individuals of their desire to participate in the conspiracy—for example

when Zarrab expressed his willingness to assist in “economic Jihad,” and when Balkan described

himself to an IRGC general as an “inside man” ready to assist the IRGC.

       543.    Defendants knew that the IRGC’s foreign policy goals included a worldwide

campaign of anti-American terrorism because myriad public sources—including statements by

governments, international organizations, and subject-matter experts—had established that fact.

       544.    Defendants never voluntarily withdrew from the conspiracy, which remains

ongoing.

       545.    As co-conspirators, Defendants are liable for all damages caused by acts in

furtherance of the conspiracy they joined, and by the foreseeable consequences of the

conspiracy.

       546.    The terrorist attacks that injured Plaintiffs were acts in furtherance of the

conspiracy because:




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          (i) each one was a criminal act undertaken by a member of the conspiracy in order to

                 advance the IRGC’s foreign policy agenda, including its objective of inflicting

                 casualties on Americans to drive the United States out of the Middle East;

          (ii) each attack helped the IRGC sustain its primacy within Iran by establishing its

                 effectiveness as a terrorist actor. This, in turn, allowed the IRGC to maintain its

                 control over entities like NIOC, which inured to the benefit of the IRGC and

                 Defendants by allowing them to continue their profitable illicit relationship.

          547.     The attacks were also foreseeable consequences of the conspiracy Defendants

joined because the conspiracy’s known objectives and methods included terrorist attacks by the

IRGC’s proxies on Americans in Afghanistan and Syria. Thus, any person who agreed to support

the IRGC’s foreign policy agenda, including by providing access to funds to carry it out, knew or

should have known that this support would contribute to terrorist attacks on Americans.

                                             JURY DEMAND

          548.     In accordance with Federal Rule of Civil Procedure 38(b), Plaintiffs demand a

trial by jury on all issues so triable.

                                          PRAYER FOR RELIEF

          549.     Plaintiffs request that the Court:

    (a)      Enter judgment against Defendants finding them jointly and severally liable for

             aiding and abetting under JASTA, 18 U.S.C. § 2333(d)(2);

    (b)      Enter judgment against Defendants finding them jointly and severally liable for

             conspiracy under JASTA, 18 U.S.C. § 2333(d)(2);

    (c)      Award Plaintiffs compensatory and punitive damages to the maximum extent

             permitted by law, and treble any compensatory damages pursuant to 18 U.S.C.

             § 2333(a);

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   (d)     Award Plaintiffs their attorney’s fees and costs incurred in this action, pursuant to 18

           U.S.C. § 2333(a);

   (e)     Award Plaintiffs prejudgment interest; and

   (f)     Award Plaintiffs any such further relief the Court deems just and proper.



Dated: July 26, 2023


                                                s/Tejinder Singh

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